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                                      Exhibit A

                      Amended and Restated Tax Matters Agreement




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                           AMENDED AND RESTATED
                           TAX MATTERS AGREEMENT

                                 BY AND AMONG

         SEMPRA TEXAS HOLDINGS CORP. (F/K/A Energy Future Holdings Corp.)

SEMPRA TEXAS INTERMEDIATE HOLDING COMPANY LLC (F/K/A Energy Future Intermediate

                               Holding Company LLC)

                                      AND

                           SEMPRA TEXAS BIDCO, LLC,

                          SEMPRA TEXAS HOLDCO, LLC,

                                      AND

                 VISTRA ENERGY CORP. (F/K/A TEX ENERGY LLC)

ORIGINALLY DATED AS OF OCTOBER 3, 2016, AMENDED AND RESTATED AS OF MARCH 9,

                                      2018
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                  AMENDED AND RESTATED TAX MATTERS AGREEMENT
         This AMENDED AND RESTATED TAX MATTERS AGREEMENT (this “Agreement”),
originally dated as of October 3, 2016 (the “TCEH Effective Date”) and amended on March 9, 2018 (the
“EFH Effective Date”), is entered into by and among Sempra Texas Holdings Corp. (f/k/a Energy Future
Holdings Corp.), a Texas corporation (“EFH”), Sempra Texas Intermediate Holding Company LLC (f/k/a
Energy Future Intermediate Holding Company LLC), a Delaware limited liability company (“EFIH”),
Sempra Texas BidCo, LLC (“HoldCo”), a Delaware limited liability company, wholly owned by Sempra
Energy (“Parent”), a California corporation, Sempra Texas HoldCo, LLC (“Intermediary HoldCo”), a
Delaware limited liability company that is wholly-owned by HoldCo, and Vistra Energy Corp., a Delaware
corporation (f/k/a TEX Energy LLC), a Delaware limited liability company that was an indirect wholly
owned Subsidiary of EFH prior to the Spin-Off (as defined below) (“Reorganized TCEH”) (EFH, EFIH,
HoldCo, and Intermediate HoldCo, collectively, the “EFH Parties”, and the EFH Parties, together with
Reorganized TCEH, the “Parties”).

                                               RECITALS

          WHEREAS, on April 29, 2014 EFH and certain entities in which it holds an equity interest
(collectively, the “Debtors”) commenced chapter 11 cases in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) by filing voluntary petitions for relief under chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), which chapter 11 cases
are being jointly administered and are captioned In re Energy Future Holdings Corp., et al., Case No. 14-
10979 (CSS) (the “Chapter 11 Cases”);

        WHEREAS, the Bankruptcy Court approved the restructuring of EFCH, TCEH, TCEH’s direct
and indirect subsidiaries, and certain direct and indirect subsidiaries of EFH pursuant to the Third Amended
Joint Plan of Reorganization of Energy Future Holdings Corp., et al., Pursuant to Chapter 11 of the
Bankruptcy Code [D.I. 9199] (as amended, the “T-Side Plan”);

         WHEREAS, pursuant to the T-Side Plan, Texas Competitive Electric Holdings Company LLC
(“TCEH”), a Delaware limited liability company and a wholly owned, indirect subsidiary of EFH, and its
direct and indirect subsidiaries were restructured pursuant to certain transactions required to achieve and
preserve the Intended Tax Treatment (as defined below), including the Contribution, the Reorganized
TCEH Conversion, the Distribution, and the Spin-Off Preferred Stock Sale (each, as defined below, and
collectively, the “Spin-Off”);

        WHEREAS, pursuant to the T-Side Plan, TCEH (a) formed Reorganized TCEH as a new
subsidiary of TCEH before the TCEH Effective Date and (b) formed TEX Preferred LLC, a Delaware
limited liability company (the “Preferred Stock Entity”) as a new subsidiary of TCEH before the TCEH
Effective Date;

       WHEREAS, pursuant to the T-Side Plan, on the TCEH Effective Date, except for liabilities
assumed by Reorganized TCEH pursuant to the T-Side Plan, all other Claims against the TCEH Debtors
were canceled in connection with the Distribution (as defined below);

       WHEREAS, pursuant to the T-Side Plan and the Separation Agreement, (a) TCEH transferred all
of TCEH’s interests in its subsidiaries (excluding the stock of TCEH Finance, Inc. (“TCEH Finance”)) to
Reorganized TCEH; and (b) the EFH Debtors transferred (i) the equity interests in the Reorganized EFH
Shared Services Debtors and (ii) certain other assets, liabilities, and equity interests related to the TCEH



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Debtors’ operations (including the equity interests of non-Debtor EFH Properties Company (but not
including any cash on hand at EFH Properties Company, which was transferred to EFH)), in exchange for
which TCEH received (i) 100% of the Reorganized TCEH membership interests and (ii) the net Cash
proceeds of the New Reorganized TCEH Debt (together, the “Contribution”);

         WHEREAS, pursuant to the T-Side Plan, immediately following the Contribution but before the
Spin-Off Preferred Stock Sale (as defined below), the Preferred Stock Entity converted from a Delaware
limited liability company to a Delaware corporation (the “Preferred Stock Entity Conversion”);

        WHEREAS, pursuant to the T-Side Plan, immediately following the Preferred Stock Entity
Conversion but before the Reorganized TCEH Conversion (as defined below), and consistent with the
procedures in Exhibit G of the Original Plan Support Agreement, as modified in certain respects with
respect to determination and consent rights: (a) Reorganized TCEH contributed the equity in the
Contributed TCEH Debtors to the Preferred Stock Entity (such contribution to the Preferred Stock Entity
of such equity in an amount that was expected to result in the Basis Step-Up) in exchange for (i) the
Preferred Stock Entity’s common stock and (ii) the Reorganized TCEH Sub Preferred Stock; (b)
immediately thereafter, and pursuant to a prearranged and binding agreement, Reorganized TCEH sold all
of the Reorganized TCEH Sub Preferred Stock to third party investors in exchange for Cash; and (c)
Reorganized TCEH distributed such Cash to TCEH to fund recoveries under the T-Side Plan (together, the
“Spin-Off Preferred Stock Sale”);

        WHEREAS, pursuant to the T-Side Plan, immediately following the Spin-Off Preferred Stock
Sale, Reorganized TCEH converted from a Delaware limited liability company into a Delaware corporation
now known as Vistra Energy Corp. (the “Reorganized TCEH Conversion”);

       WHEREAS, pursuant to the T-Side Plan, immediately following the Reorganized TCEH
Conversion, TCEH made a distribution of the Reorganized TCEH Common Stock and the net Cash
proceeds of the New Reorganized TCEH Debt and the Spin-Off Preferred Stock Sale received in the
Contribution to Holders of Allowed TCEH First Lien Claims, together with certain limited distributions
made to certain escrow accounts (the “Distribution”);

       WHEREAS, on February 15, 2018, EFH, EFIH, and certain of their subsidiaries filed the First
Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy Future Intermediate
Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code [D.I.
12653] (as amended, the “EFH Plan”), which was confirmed by the Bankruptcy Court on February
27, 2018;

         WHEREAS, EFH’s remaining direct and indirect Subsidiaries (and equity interests therein) will
be treated in accordance with provisions of the T-Side Plan or EFH Plan, as applicable;

        WHEREAS, pursuant to the EFH Plan and the Agreement and Plan of Merger, dated August 21,
2017, by and among EFH, EFIH, Parent, and Power Play Merger Sub I, Inc. (n/k/a Sempra Texas Merger
Sub I, Inc.) (“Merger Sub”), (as amended from time to time, the “Merger Agreement”), EFH will merge
with Merger Sub (the “Merger”), with EFH surviving as a wholly-owned subsidiary of Parent;

        WHEREAS, it is intended that, for U.S. federal income tax purposes, (a) the Contribution, the
Reorganized TCEH Conversion and the Distribution qualified as a “reorganization” within the meaning of
Sections 368(a)(1)(G), 355, and 356 of the Code, (b) the contribution described in clause (a) of the definition
of the Spin-Off Preferred Stock Sale will be treated as a taxable sale of the assets of the Preferred Stock



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Entity pursuant to Section 1001 of the Code resulting in the Basis Step-Up (together with clause (a), the
“Intended Tax Treatment”);

         WHEREAS, the Parties wish to (a) provide for the payment of Tax liabilities and entitlement to
refunds thereof, allocate responsibility for, and cooperation in, the filing and defense of Tax Returns, and
provide for certain other matters relating to Taxes and (b) set forth certain covenants and indemnities
relating to the preservation of the Intended Tax Treatment;

        WHEREAS, Reorganized TCEH entered into this Agreement, in part, because Holders of the
TCEH First Lien Claims, including, significantly, the TCEH First Lien Ad Hoc Committee, would not have
agreed to support the T-Side Plan without the protections provided for and represented by this Agreement;
and

        WHEREAS, this Agreement was approved by the Bankruptcy Court and, prior to its amendment,
became effective upon the Distribution. This Amended and Restated Agreement was approved by the
Bankruptcy Court and will become effective on the EFH Effective Date. In the event of any conflict
between this Agreement, the T-Side Plan, or the EFH Plan, the T-Side Plan or the EFH Plan, as applicable,
shall govern, and in the event of a conflict between the T-Side Plan and the EFH Plan, the T-Side Plan shall
govern.

         NOW, THEREFORE, in consideration of these premises, and of the representations, warranties,
covenants, and agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties hereby agree as follows:

                                                 ARTICLE I

                                                  Definitions

       Section 1.01       General. As used in this Agreement, the following terms shall have the following
meanings.

        “Accounting Firm” has the meaning set forth in Section 9.02.

          “Additional Spin-Off Preferred Stock Sale Tax” means (i) an amount (but not less than zero) equal
to fifty percent (50%) of U.S. federal alternative minimum tax liability (including any adjustments pursuant
to a Final Determination), if any, that results from the limitation on the utilization of the net operating losses
to offset gain recognized from the Spin-Off Preferred Stock Sale under Section 56(d)(1)(A) of the Code,
plus (ii) an amount (but not less than zero) equal to the regular Income Tax liability (and any corollary state
and local Tax liability) (excluding any alternative minimum Tax) of the EFH Group in its taxable year in
which the Spin-Off Preferred Stock Sale is consummated and attributable to the Spin-Off Preferred Stock
Sale, calculated by determining the excess of (a) the EFH Group tax liability (determined, for the avoidance
of doubt, by taking into account the gain on the Spin-Off Preferred Stock Sale (including any adjustments
pursuant to a Final Determination)) over (b) the EFH Group tax liability (including any adjustments
pursuant to a Final Determination), assuming the Spin-Off Preferred Stock Sale did not occur and the Spin-
Off was consummated without the Spin-Off Preferred Stock Sale; provided, that for purposes of such
calculation, it shall be assumed that (w) in the event of a Tax-Free Transaction Failure described in Section
2.05(a) or Section 2.05(b), such Tax-Free Transaction Failure shall be ignored, and therefore (1) the
Contribution, the Reorganized TCEH Conversion and Distribution shall be treated as qualifying for clause
(a) of the definition of the Intended Tax Treatment, and (2) the EFH Group shall be treated as recognizing
no gain because of the application of Sections 355(d) or 355(e) of the Code to the Distribution, (x) the



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“consolidated year” (within the meaning of Section 1503(e)(2)(B) of the Code) ended on the Distribution
Date, (y) the EFH Group recognized no income, gain, loss or deduction as a result of transactions occurring
outside the ordinary course of business in the taxable year that contains the Distribution Date (other than
(1) Specified Tax Items (if any) attributable to any Historical TCEH Entity and (2) items directly resulting
from other transactions expressly contemplated by the T-Side Plan, solely to the extent the T-Side Plan
relates to the Reorganized TCEH Entities and to EFH Properties Company and EFH Shared Services
Debtors to the extent that assets thereof (rather than equity interests therein) are transferred), and (z) the
Agreed Tax Attributes shall be as reported on the EFH Group’s Tax Return as originally filed, but adjusted
to take into account any adjustments pursuant to any Final Determination, (1) any disallowances or
increases of such Agreed Tax Attributes (or the component items of loss or deduction thereof) and (2) any
utilization of such Agreed Tax Attributes arising out of items of income or gain allocable to any Historical
TCEH Entity (other than any such utilization attributable to a Tax-Free Transaction Failure (other than as
a result of a Reorganized TCEH Breach)); provided, further, that in the event of a Tax-Free Transaction
Failure described in Section 2.05(a), the amount described in this clause (ii) shall not exceed such amount
determined as if clause (w) above did not apply.

         “Affiliate” means, with respect to any Person, any other Person, directly or indirectly, controlling,
controlled by, or under common control with, such Person; provided, that notwithstanding the foregoing,
Affiliates of EFH shall be deemed to exclude the Reorganized TCEH Entities following the Distribution.

        “Agreed Tax Attributes” means 100% of the aggregate amount of net losses, net operating losses,
and net capital losses (but only to the extent such net capital losses are deductible under applicable tax law
against gain recognized on the Spin-Off Preferred Stock Sale) (in each case, including carryovers), available
to the EFH Group as of the Distribution Date (determined (a) as if the “consolidated year” (within the
meaning of Section 1503(e)(2)(B) of the Code) of the EFH Group ended on the Distribution Date and (b)
without regard to any income, gain, loss or deduction generated as a result of the Spin-Off Preferred Stock
Sale or transactions occurring outside the ordinary course of business on the Distribution Date after the
Spin-Off Preferred Stock Sale (other than (x) Specified Tax Items (if any) attributable to any Historical
TCEH Entity and (y) items directly resulting from the Spin-Off)), such amount to be reasonably determined
by the TCEH Supporting First Lien Creditors in consultation with EFH.

        “Agreement” has the meaning set forth in the Preamble.

        “Bankruptcy Code” has the meaning set forth in the Recitals.

        “Bankruptcy Court” has the meaning set forth in the Recitals.

       “Basis Step-Up” means the increase in the U.S. federal income tax basis in the assets transferred
or deemed transferred to the Preferred Stock Entity pursuant to the Spin-Off Preferred Stock Sale.

        “Chapter 11 Cases” has the meaning set forth in the Recitals.

        “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items.

        “Code” means the Internal Revenue Code of 1986, as amended.

        “Contribution” has the meaning set forth in the Recitals.




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        “Covered Transaction” means the Contribution, the Reorganized TCEH Conversion and
Distribution, the Spin-Off Preferred Stock Sale, and any other transaction contemplated by the EFH Plan
or the T-Side Plan or the Transaction Agreements.

        “Debtors” has the meaning set forth in the Recitals.

        “Deferred Intercompany and ELA Items” means intercompany items (as such term is defined in
Treasury Regulations Section 1.1502-13(b)(2)) and excess loss account (as such term is defined in Treasury
Regulations Section 1.1502-19(a)) that are accelerated into income as a result of the Distribution pursuant
to Treasury Regulations Section 1.1502-13(d) or Section 1.1502-19 and any corollary state and local items
and amounts.

        “Distribution” has the meaning set forth in the Recitals.

        “Distribution Date” means October 3, 2016, the date on which the Distribution occurred.

        “Due Date” means (a) with respect to a Tax Return, the date (taking into account all valid
extensions) on which such Tax Return is required to be filed under applicable law and (b) with respect to a
payment of Taxes, the date on which such payment is required to be made to avoid the incurrence of interest,
penalties, and/or additions to Tax.

       “EFH” has the meaning set forth in the Preamble, and, for the avoidance of doubt, all references to
EFH shall include Merger Sub following the Merger.

        “EFH Breach” means (a) a breach of one or more covenants in Article VI by any Reorganized EFH
Entity or any of its Affiliates or (b) an EFH Notified Action.

        “EFH Consolidated Corporation” has the meaning set forth in Section 2.04(a)(i).

       “EFH Group” means the “affiliated group” (within the meaning of Section 1504(a)(1) of the Code),
and any consolidated, combined, aggregate, or unitary group under state or local law, of which EFH is the
common parent.

        “EFH Notified Action” has the meaning set forth in Section 6.01(c).

        “EFH Parties” has the meaning set forth in the Preamble.

        “EFH Plan” has the meaning set forth in the Preamble.

        “EFH Shared Services Debtors” means, collectively: (a) EFH Corporate Services Company; (b)
Dallas Power and Light Company, Inc.; (c) EFH CG Holdings Company LP; (d) EFH CG Management
Company LLC; (e) Lone Star Energy Company, Inc.; (f) Lone Star Pipeline Company, Inc.; (g)
Southwestern Electric Service Company, Inc.; (h) Texas Electric Service Company, Inc.; (i) Texas Energy
Industries Company, Inc.; (j) Texas Power and Light Company, Inc.; (k) Texas Utilities Company, Inc.; (l)
Texas Utilities Electric Company, Inc.; and (m) TXU Electric Company, Inc.

         “EFH Taxes” means (a) any Taxes of the EFH Group (including, for the avoidance of doubt, Taxes
arising from any adjustment to any interest expense, discharge of indebtedness income or gain under
Section 1001 of the Code with respect to indebtedness of any of such entities) for periods (and any portion
of a Straddle Period) ending on or before the Distribution Date that are not specifically included within the



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definition of Reorganized TCEH Taxes, including, for the avoidance of doubt, without duplication, (i) any
Taxes attributable to or arising from the ownership or operation of any business retained by any
Reorganized EFH Entity, in each case, as determined pursuant to Section 2.03 and Section 2.04, (ii) Income
Taxes imposed on a Reorganized TCEH Entity attributable to a Tax-Free Transaction Failure and allocated
to the EFH Parties pursuant to Section 2.05(a) or Section 2.05(b), (iii) the alternative minimum tax allocated
to the EFH Parties pursuant to Section 2.04(d)(iii), (iv) Transfer Taxes allocated to the EFH Parties pursuant
to Section 2.04(d)(i), and (v) Taxes resulting from any action by any Reorganized EFH Entity outside of
the ordinary course of business on the Distribution Date; (b) any Taxes imposed on any Reorganized EFH
Entity for periods (or portion of a Straddle Period) beginning after the Distribution Date; and (c) any other
Taxes allocated to the EFH Parties pursuant to Section 2.04.

        “EFIH” has the meaning set forth in the Preamble.

          “Final Determination” means the final resolution of liability for any Tax for any taxable period,
by or as a result of (a) a final decision, judgment, decree or other order by any court of competent
jurisdiction that can no longer be appealed, (b) a final settlement with the IRS, a closing agreement or
accepted offer in compromise under Sections 7121 or 7122 of the Code, or a comparable agreement under
the laws of other jurisdictions, (c) any allowance of a Refund in respect of an overpayment of Tax, but only
after the expiration of all periods during which such Refund may be recovered by the jurisdiction imposing
the Tax or (d) any other final resolution, including by reason of the expiration of the applicable statute of
limitations. “Finally Determined” has a correlative meaning.

        “Historical EFH Entity” means the EFH Parties and any entity that was a Subsidiary of EFH prior
to the Distribution (including for this purpose, any restructuring transactions done in preparation for the
Distribution), other than any Historical TCEH Entity.

        “Historical TCEH Entity” means TCEH and any entity that was a Subsidiary of TCEH prior to the
Distribution (including for this purpose, any restructuring transactions done in preparation for the
Distribution). For the avoidance of doubt, the EFH Shared Services Debtors and EFH Properties Company
are not Historical TCEH Entities.

         “Income Taxes” means any Taxes in whole or in part based upon, measured by, or calculated with
respect to net income or profits, net worth or net receipts (including any alternative minimum Tax and the
Texas Margin Tax). For the avoidance of doubt, Income Taxes do not include sales, use, real or personal
property, or transfer or similar Taxes.

       “Indemnified Party” means, with respect to a matter, a Person that is entitled to seek
indemnification under this Agreement with respect to such matter.

       “Indemnifying Party” means, with respect to a matter, a Person that is obligated to provide
indemnification under this Agreement with respect to such matter.

        “Intended Tax Treatment” has the meaning set forth in the Recitals.

        “IRS” means the U.S. Internal Revenue Service or any successor thereto, including its agents,
representatives, and attorneys acting in their official capacity.

        “IRS Submissions” means all submissions to the IRS in connection with requests for the Private
Letter Ruling.




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        “Non-Income Taxes” means any Taxes other than Income Taxes.

        “Notified Action” has the meaning set forth in Section 6.01(c).

        “Oncor Entities” means Oncor Electric Delivery Holdings Company LLC and its Subsidiaries
(including Oncor Electric Delivery Company LLC).

         “Opinion” means an opinion (including an Unqualified Tax Opinion) received by a Party with
respect to certain Tax aspects of the Covered Transactions.

       “Original Plan Support Agreement” means that certain amended and restated plan support
agreement, dated as of September 11, 2015, by and among the Debtors and the other parties thereto.

        “Parties” has the meaning set forth in the Preamble.

        “Person” or “person” means a natural person, corporation, company, joint venture, individual
business trust, trust association, partnership, limited partnership, limited liability company, association,
unincorporated organization or other entity, including a governmental authority.

        “Post-Distribution Period” means any taxable period (or portion thereof) beginning after the
Distribution Date, including for the avoidance of doubt, the portion of any Straddle Period beginning after
the Distribution Date.

        “Preferred Stock” has the meaning set forth in the Recitals.

        “Preferred Stock Entity” has the meaning set forth in the Recitals.

        “Preferred Stock Entity Conversion” has the meaning set forth in the Recitals.

        “Private Letter Ruling” means a private letter ruling issued by the IRS addressing the qualification
of the Contribution, the Reorganized TCEH Conversion, and the Distribution as a “reorganization” within
the meaning of Sections 368(a)(1)(G), 355 and 356 of the Code and certain other matters, together with any
amendments or supplements thereto (including any supplemental ruling obtained by a Party pursuant to
Section 6.01(c)).

        “Refund” means any refund (or credit in lieu thereof) of Taxes (including any overpayment of
Taxes that can be refunded or, alternatively, applied to other Taxes payable), including any interest paid on
or with respect to such refund of Taxes.

       “Reorganized EFH Entity” means the EFH Parties and any entity that is a Subsidiary of EFH
immediately after the Distribution (including, for the avoidance of doubt, EFCH, TCEH and TCEH
Finance).

        “Reorganized EFH Shared Services Debtors” means the EFH Shared Services Debtors as
reorganized pursuant to and under the T-Side Plan, or any successor thereto, by merger, consolidation, or
otherwise, on or after the Distribution Date.

         “Reorganized TCEH” has the meaning set forth in the Preamble and, for the avoidance of doubt,
all references to Reorganized TCEH shall include Reorganized TCEH following the Contribution.




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       “Reorganized TCEH Breach” means (a) a breach of one or more covenants in Article VI by any
Reorganized TCEH Entity or any of its Affiliates or (b) a Reorganized TCEH Notified Action.

        “Reorganized TCEH Consolidated Corporation” has the meaning set forth in Section 2.04(a)(i).

        “Reorganized TCEH Entity” means Reorganized TCEH or any entity that is a Subsidiary of
Reorganized TCEH immediately after the Distribution (which shall include, for the avoidance of doubt, the
Reorganized EFH Shared Services Debtors and EFH Properties Company, to the extent the equity interests
in such entities are transferred pursuant to the Contribution).

        “Reorganized TCEH Notified Action” has the meaning set forth in Section 6.01(c).

         “Reorganized TCEH Taxes” means (a) any Income Taxes imposed on EFH and its Subsidiaries
attributable to a Tax-Free Transaction Failure and allocated to Reorganized TCEH pursuant to Section
2.05(c) and Section 2.05(d), (b) for periods (and the portion of any Straddle Period) ending on or before the
Distribution Date, as determined pursuant to Section 2.03 and Section 2.04, (i) any Taxes, including any
Specified Tax Items, attributable to any Historical TCEH Entity and (ii) any Taxes attributable to or arising
from the ownership or operation of any business or assets contributed to or held on the Distribution Date
by any Historical TCEH Entity (in each case in this clause (b), (x) including, for the avoidance of doubt,
any Taxes resulting from any adjustments to any interest expense, discharge of indebtedness income or gain
under Section 1001 of the Code and tax benefit income with respect to indebtedness of any of such entities
(regardless whether such indebtedness is treated as indebtedness of any such entity for federal income tax
purposes) and (y) such Taxes determined on a standalone basis and without regard to any contractual,
successor, transferee liability or any liability under Treasury Regulations Section 1.1502-6 or similar
provisions of state or local tax law), other than (A) any Taxes resulting from a Tax-Free Transaction Failure,
other than Taxes allocated to the Reorganized TCEH Entities pursuant to Section 2.05(c) and Section
2.05(d), (B) any Taxes resulting from the Spin-Off Preferred Stock Sale, other than Taxes allocated to the
Reorganized TCEH Entities pursuant to Section 2.04(d)(iv) and (C) any Taxes allocated to the EFH Parties
pursuant to Section 2.04(d)(v), (c) any Taxes imposed on any Reorganized TCEH Entity for periods (or
portion of a Straddle Period) beginning after the Distribution Date, (d) any Transfer Taxes allocated to
Reorganized TCEH pursuant to Section 2.04(d)(i), (e) the Additional Spin-Off Preferred Stock Sale Tax,
and (f) any Taxes resulting from any action by any Reorganized TCEH Entity outside of the ordinary course
of business on the Distribution Date, except as a result of any action that is expressly contemplated by the
T-Side Plan or the Transaction Agreements under the T-Side Plan.

        “Restriction Period” has the meaning set forth in Section 6.01(b).

        “Section 108(i) Items” means items of income or gain or other Tax items resulting from the
acceleration of all discharge of indebtedness income of the EFH Group that was previously deferred under
Section 108(i) of the Code.

        “Specified Tax Items” means Section 108(i) Items and Deferred Intercompany and ELA Items (if
any) and corollary state and local items and amounts.

        “Spin-Off” has the meaning set forth in the Recitals.

         “Spin-Off Preferred Stock Sale” has the meaning set forth in the Recitals.




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        “Stepped-Up TCEH Asset” means, any asset of the TCEH Debtors whose U.S. federal income tax
basis immediately after the transactions contemplated by the T-Side Plan is determined by reference to its
fair market value on the Distribution Date in accordance with the Intended Tax Treatment.

        “Straddle Period” means any taxable period that begins on or before and ends after the Distribution
Date.

        “Subsidiary” means, with respect to any Person, any other Person of which at least a majority of
the securities or other ownership interests having by their terms ordinary voting power to elect a majority
of the board of directors or other persons performing similar functions is directly or indirectly owned or
controlled by such Person and/or by one or more of its Subsidiaries.

        “T-Side Plan” has the meaning set forth in the Recitals.

         “Tax” or “Taxes” means any and all U.S. federal, state or local, or foreign, income, gross receipts,
license, payroll, employment, excise, severance, stamp, occupation, premium, windfall profits,
environmental, customs duties, capital stock, franchise, profits, withholding, social security (or similar),
unemployment, disability, real property, personal property, sales, use, transfer, registration, value added,
alternative or add-on minimum, estimated, or other tax of any kind whatsoever (including any assessment,
duty, fee or other charge in the nature of or in lieu of any such tax) and any interest, penalty, or addition
thereto, whether disputed or not.

        “Tax Attributes” means net operating losses, capital losses, alternative minimum tax credits,
investment tax credit carryovers, earnings and profits, foreign tax credit carryovers, overall foreign losses,
previously taxed income, separate limitation losses, and any other losses, deductions, credits or other
comparable items that could reduce a Tax liability for a past or future taxable period.

        “Tax Benefit” means any decrease in Tax payments actually required to be made to a Taxing
Authority (or any increase in any Refund otherwise receivable from any Taxing Authority) including any
decrease in Tax payments (or increase in any Refund) that actually results from an increase in Tax Attributes
(computed on a “with” or “without” basis).

        “Tax Cost” means any increase in Tax payments actually required to be made to a Taxing Authority
(or any reduction in any Refund otherwise receivable from any Taxing Authority), including any increase
in Tax payments (or reduction in any Refund) that actually results from a reduction in Tax Attributes
(computed on a “with or without” basis).

         “Tax-Free Transaction Failure” means (a) the failure of the Contribution, the Reorganized TCEH
Conversion and Distribution to qualify for clause (a) of the definition of the Intended Tax Treatment, and
(b) the recognition of any gain by the EFH Group because of the application of Sections 355(d) or 355(e)
of the Code to the Distribution.

       “Tax Item” means any item of income, gain, loss, deduction, credit, recapture of credit or any other
item which increases, decreases or otherwise impacts Taxes paid or payable.

        “Tax Materials” means (a) the Private Letter Ruling, (b) any Opinion, (c) the IRS Submissions, (d)
any representation letter from a Party or any Affiliate thereof supporting an Opinion, and (e) any other
materials delivered or deliverable by a Party or any Affiliate thereof in connection with the rendering of an
Opinion or the issuance by the IRS of the Private Letter Ruling.




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        “Tax Matter” has the meaning set forth in Section 7.01.

       “Tax Proceeding” means any audit, assessment of Taxes, pre-filing agreement, other examination
by any Taxing Authority, proceeding, appeal of a proceeding or litigation relating to Taxes, whether
administrative or judicial, including proceedings relating to competent authority determinations.

        “Tax Return” means any return, report, certificate, form or similar statement or document
(including any related or supporting information or schedule attached thereto and any information return or
declaration of estimated Tax) supplied to, filed with or required to be supplied to or filed with a Taxing
Authority in connection with the payment, determination, assessment or collection of any Tax or the
administration of any laws relating to any Tax, and any amended Tax return or claim for Refund.

        “Taxing Authority” means any governmental authority or any subdivision, agency, commission or
entity thereof or any quasi-governmental or private body having jurisdiction over the assessment,
determination, collection or imposition of any Tax (including the IRS and the Office of the Texas
Comptroller of Public Accounts).

        “TCEH” has the meaning set forth in the Recitals.

        “TCEH Effective Date” has the meaning set forth in the Recitals.

        “TCEH Finance” has the meaning set forth in the Recitals.

        “Texas Margin Tax” means any tax payable pursuant to Section 171.001 et seq. of the Texas Tax
Code, as amended.

         “Transfer Taxes” means any transfer, stamp, documentary, sale, use, registration, value-added or
other similar Taxes imposed with respect to the Spin-Off or any other transaction contemplated by the either
the T-Side Plan or the EFH Plan (including any restructuring of the EFH Parties or a direct or indirect
acquisition of an interest in the Oncor Entities).

        “Treasury Regulations” means the proposed, final, and temporary income Tax regulations
promulgated under the Code, as such regulations may be amended from time to time (including
corresponding provisions of succeeding regulations).

         “Unqualified Tax Opinion” means a “will” opinion, without substantive qualifications, of a
nationally recognized law or accounting firm, which firm is reasonably acceptable to the EFH Parties,
Parent, and Reorganized TCEH, to the effect that a transaction or action will not (i) affect the Intended Tax
Treatment and (ii) negate any of the other rulings provided in the Private Letter Ruling. Each of the EFH
Parties and Reorganized TCEH acknowledges that Paul, Weiss, Rifkind, Wharton & Garrison LLP,
Kirkland & Ellis LLP, White & Case LLP, and KPMG LLP are reasonably acceptable to such entity.

         Section 1.02   Construction. When a reference is made in this Agreement to an Article, a Section,
an Exhibit, the Preamble or the Recitals, such reference shall be to an Article, a Section, an Exhibit, the
Preamble or the Recitals of this Agreement, respectively, unless otherwise indicated. Whenever the words
“include,” “includes” or “including” are used in this Agreement, they shall be deemed to be followed by
the words “without limitation.” The words “hereof,” “herein,” and “hereunder” and words of similar import
when used in this Agreement shall refer to this Agreement as a whole and not to any particular provision
of this Agreement. The term “or” is not exclusive. Capitalized terms not defined herein have the meaning
assigned to them in the T-Side Plan or the EFH Plan, as applicable. All terms defined in this Agreement



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shall have the defined meanings when used in any certificate or other document made or delivered pursuant
hereto unless otherwise defined herein. The definitions contained in this Agreement are applicable to the
singular as well as the plural forms of such terms and to the masculine as well as to the feminine and neuter
genders of such terms. Unless otherwise specified, any agreement, instrument or statute defined or referred
to herein or in any agreement or instrument that is referred to herein means such agreement, instrument or
statute as from time to time amended, modified or supplemented, including (in the case of agreements or
instruments) by waiver or consent and (in the case of statutes) by succession of comparable successor
statutes, and including all attachments thereto and instruments incorporated therein. References to a person
are also to its permitted successors and assigns.

       Section 1.03    References to Time. All references in this Agreement to times of the day shall be
to New York City time.

                                               ARTICLE II

                  Preparation, Filing, and Payment of Taxes Shown Due on Tax Returns

        Section 2.01     Tax Returns.

                  (a)     Tax Returns Prepared by EFH. EFH shall prepare and file (or cause to be prepared
and filed) each Tax Return required to be filed by a Reorganized EFH Entity (including, for the avoidance
of doubt, the U.S. federal income Tax Return of the EFH Group and all state income and franchise Tax
Returns including members of the EFH Group for all periods ending on or before the Distribution Date)
and shall pay, or cause such Reorganized EFH Entity to pay, all Taxes shown to be due and payable on
each such Tax Return; provided, that the Reorganized TCEH Entities shall jointly and severally reimburse
EFH for any such Taxes that are Reorganized TCEH Taxes, and EFH shall prepare and provide to
Reorganized TCEH for filing each Tax Return, if any, including EFH Taxes required to be filed by a
Reorganized TCEH Entity after the Distribution Date; provided, however, that for any periods following
the Distribution Date but prior to the emergence of EFH from chapter 11 proceedings, obligations with
respect to the preparation and filing of Tax Returns shall be governed by the Transition Services Agreement
for such period in which the Transition Services Agreement is in effect.

                 (b)     Reorganized TCEH Entity Tax Returns. Reorganized TCEH shall prepare (other
than as specified in Section 2.01(a)) and file (or cause to be prepared and filed) each Tax Return required
to be filed by a Reorganized TCEH Entity after the Distribution Date and shall pay, or cause be paid, all
Taxes shown to be due and payable on such Tax Return; provided, that the EFH Parties shall jointly and
severally reimburse Reorganized TCEH for any such Taxes that are EFH Taxes.

        Section 2.02     Tax Return Procedures.

                 (a)      Manner of Tax Return Preparation. Subject to Section 5.03, unless otherwise
required by a Taxing Authority or by applicable law, the Parties shall prepare and file all Tax Returns, and
take all other actions, in a manner consistent with this Agreement, including the applicable Intended Tax
Treatment, the Tax Materials, and (to the extent not in conflict with this Agreement, the applicable Intended
Tax Treatment and the Tax Materials) commercial practice. All Tax Returns shall be filed on a timely basis
(taking into account applicable extensions) by the Party responsible for filing such Tax Returns under this
Agreement.

                (b)     Right to Review Certain Returns Prepared by EFH. In the case of any Tax Return
described in Section 2.01(a), (i) the portion (if any) of such Tax Return that relates to Reorganized TCEH



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Taxes or would reasonably be expected to adversely affect the Tax position of any Reorganized TCEH
Entity shall (to the extent permitted by law) be prepared in a manner described in Section 2.02(a) and (ii)
EFH shall provide a draft of such Tax Return to Reorganized TCEH for its review and comment at least
thirty (30) days prior to the Due Date for such Tax Return or, in the case of any such Tax Return filed on a
monthly basis or property Tax Return, ten (10) days. EFH shall consider in good faith any reasonable
comment received from Reorganized TCEH at least three (3) days prior to the Due Date for such Tax
Return. In the event that neither the Intended Tax Treatment, the Tax Materials nor commercial practice
are applicable to a particular item or matter, EFH shall determine the reporting of such item or matter in
good faith in consultation with Reorganized TCEH. The Parties shall negotiate in good faith to resolve all
disputed issues. Any disputes that the Parties are unable to resolve shall be resolved by the Accounting
Firm pursuant to Section 9.02. In the event that any dispute is not resolved (whether pursuant to good faith
negotiations among the Parties or by the Accounting Firm) prior to the Due Date for the filing of any Tax
Return, such Tax Return shall be timely filed as prepared by EFH and such Tax Return shall be amended
as necessary to reflect the resolution of such dispute in a manner consistent with such resolution. For the
avoidance of doubt, the EFH Parties shall be jointly and severally responsible for any interest, penalties or
additions to Tax resulting from the late filing of any Tax Return EFH is required to file under Section
2.01(a), except to the extent that such late filing is primarily caused by the failure of any Reorganized TCEH
Entity to provide relevant information necessary for the preparation and filing of such Tax Return.

                  (c)     Right to Review Certain Returns Prepared by Reorganized TCEH. In the case of
any Tax Return described in Section 2.01(b) that relates to EFH Taxes or that would reasonably be expected
to adversely affect the Tax position of any Reorganized EFH Entity, (i) such Tax Return shall (to the extent
permitted by law) be prepared in a manner described in Section 2.02(a) and (ii) Reorganized TCEH shall
provide a draft of such Tax Return to EFH for its review and comment at least thirty (30) days prior to the
Due Date for such Tax Return, or in the case of any such Tax Return filed on a monthly basis or property
Tax Return, ten (10) days. Reorganized TCEH shall consider in good faith any reasonable comment
received from EFH at least three (3) days prior to the Due Date for such Tax Return. In the event that
neither the Intended Tax Treatment, the Tax Materials nor commercial practice are applicable to a particular
item or matter, Reorganized TCEH shall determine the reporting of such item or matter in good faith in
consultation with EFH. The Parties shall negotiate in good faith to resolve all disputed issues. Any disputes
that the Parties are unable to resolve shall be resolved by the Accounting Firm pursuant to Section 9.02. In
the event that any dispute is not resolved (whether pursuant to good faith negotiations among the Parties or
by the Accounting Firm) prior to the Due Date for the filing of any Tax Return, such Tax Return shall be
timely filed as prepared by Reorganized TCEH and such Tax Return shall be amended as necessary to
reflect the resolution of such dispute in a manner consistent with such resolution. For the avoidance of
doubt, each Reorganized TCEH Entity shall be jointly and severally responsible for any interest, penalties
or additions to Tax resulting from the late filing of any Tax Return Reorganized TCEH is required to file
under Section 2.01(b) except to the extent that such late filing is primarily caused by the failure of any
Reorganized EFH Entity to provide relevant information necessary for the preparation and filing of such
Tax Return.

                 (d)      Tax Reporting. Unless otherwise required by law, EFH and Reorganized TCEH,
as applicable, shall file the appropriate information and statements, as required by Treasury Regulations
Sections 1.355-5(a) and 1.368-3, with the IRS, and shall retain the appropriate information relating to the
Contribution, the Reorganized TCEH Conversion and the Distribution as described in Treasury Regulations
Sections 1.355-5(d) and 1.368-3(d).

              (e)    Amendments. Any amendment of any Tax Return described in Section 2.01 of any
Reorganized TCEH Entity shall be subject to the same procedures required for the preparation of such type




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of Tax Return of such Reorganized TCEH Entity pursuant to this Section 2.02. Any amendment of any
Tax Return described in Section 2.01 of any Reorganized EFH Entity shall be subject to the same
procedures required for the preparation of such type of Tax Return of such Reorganized EFH Entity
pursuant to this Section 2.02.

         Section 2.03     Straddle Period Tax Allocation. To the extent permitted by law, EFH and
Reorganized TCEH shall elect, or cause an election to be made, to close the taxable year of each
Reorganized TCEH Entity as of the close of the Distribution Date. In the case of any Straddle Period, the
amount of any Income Taxes attributable to the portion of the Straddle Period ending on, or beginning after,
the Distribution Date shall be made by means of a closing of the books and records of such Reorganized
TCEH Entity as of the close of the Distribution Date; provided, that in the case of Non-Income Taxes that
are periodic Taxes (e.g., property Taxes) and exemptions, allowances, and deductions that are calculated
on an annual basis (such as depreciation deductions), such Taxes, exemptions, allowances, and deductions
shall be allocated between the portion of the Straddle Period ending at the end of the Distribution Date and
the portion beginning after the Distribution Date based upon the ratio of (a) the number of days in the
relevant portion of the Straddle Period to (b) the number of days in the entire Straddle Period; provided,
however, that in allocating any such exemptions, allowances, or deductions (or increase in such amounts)
between the two periods that comprise a Straddle Period, any such items that relate to an asset or property
that was sold, acquired or improved during the Straddle Period shall be allocated on a daily basis solely
among the days in the Straddle Period during which such asset was owned or such improvement existed;
provided, further, that Taxes that are properly allocable (based on, among other relevant factors, factors set
forth in Treasury Regulations Section 1.1502-76(b)(1)(ii)(B)) to a portion of the Distribution Date
following the Distribution, shall be allocable to the portion of the Straddle Period beginning after the
Distribution Date.

        Section 2.04     Allocation of Taxes.

                (a)     Income Taxes. Income Taxes (other than Income Taxes allocated pursuant to
Section 2.04(b), Section 2.04(d), and Section 2.05) shall be allocated in an appropriate manner, consistent
with commercial practice, and as follows:

                        (i)       In the case of U.S. federal regular Income Taxes, in proportion to the
        separate taxable income (calculated in a manner consistent with Treasury Regulations Section
        1.1552-1(a)(1) and determined without regard to any items the Income Taxes for which are
        allocated pursuant to Section 2.04(b), Section 2.04(d), and Section 2.05) attributable to (x) any
        Reorganized EFH Entity (treated as if all of the assets and liabilities of such entities were combined
        into a single corporation) (such single corporation, the “EFH Consolidated Corporation”),
        including any business or assets retained by such entities following the Distribution Date, on the
        one hand, and (y) any Reorganized TCEH Entity (treated as if all of the assets and liabilities of
        such entities were combined into a single corporation) (such single corporation, the “Reorganized
        TCEH Consolidated Corporation”), including any business or assets contributed to or otherwise
        held by such entities following the Distribution Date, on the other hand.

                          (ii)    In the case of Texas Margin Tax, the methodology specified in Section
        2.04(a)(i) shall be applied, and Texas Margin Tax shall be allocated, based on the separate taxable
        margins of the EFH Consolidated Corporation, on the one hand, and the Reorganized TCEH
        Consolidated Corporation, on the other hand.

             (b)      Alternative Minimum Taxes. Alternative minimum Taxes (other than alternative
minimum Taxes allocated pursuant to Section 2.04(d) and Section 2.05) shall be allocated in proportion to



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the respective separate amounts of alternative minimum tax of the EFH Consolidated Corporation, on the
one hand, and the Reorganized TCEH Consolidated Corporation, on the other hand.

                 (c)     Non-Income Taxes. Except as provided in Section 2.04(d)(i), Non-Income Taxes
shall be allocated between the EFH Parties, on the one hand, and Reorganized TCEH, on the other hand,
based on the applicable items attributable to or arising from any business retained by any Reorganized EFH
Entity, on the one hand, and any business contributed to (or otherwise held on the Effective Date by) any
Reorganized TCEH Entity, on the other hand, that contribute to such Taxes (e.g., sales Taxes and value
added Taxes shall be allocated to the EFH Parties to the extent arising from taxable sales made by any
business retained by any Reorganized EFH Entity). In the event that any Non-Income Tax is not attributable
to (and does not arise from) any items relating to any business (e.g., capital Taxes imposed based on the
authorized stock), such Non-Income Taxes shall be allocated between the EFH Parties, on the one hand,
and Reorganized TCEH, on the other hand, in proportion to the gross income of any business retained by
any Reorganized EFH Entity, on the one hand, and any business contributed to (or otherwise held on the
Effective Date by) any Reorganized TCEH Entity, on the other hand.

                (d)      Other Taxes.

                         (i)      Transfer Taxes, if any, related to or arising as a result of the Spin-Off shall
        be allocated one hundred percent (100%) to the TCEH Parties. Transfer Taxes, if any, arising as a
        result of restructuring of the EFH Parties or a direct or indirect acquisition of an interest in the
        Oncor Entities shall be allocated one hundred percent (100%) to the EFH Parties. Other Transfer
        Taxes, if any, will be allocated to the EFH Parties if they constitute items attributable to the EFH
        Consolidated Corporation and to Reorganized TCEH if they constitute items attributable to the
        Reorganized TCEH Consolidated Corporation.

                          (ii)     Income Taxes attributable to a Tax-Free Transaction Failure shall be
        allocated as set forth in Section 2.05.

                         (iii)   An amount (but not less than zero) equal to fifty percent (50%) of U.S.
        federal alternative minimum tax liability (including any adjustments pursuant to a Final
        Determination), if any, that results from the limitation on the utilization of the net operating losses
        to offset gain recognized from the Spin-Off Preferred Stock Sale under Section 56(d)(1)(A) of the
        Code shall be allocated to the EFH Parties.

                      (iv)        The Additional Spin-Off Preferred Stock Sale Tax shall be allocated to
        Reorganized TCEH.

                        (v)      If there has been no Tax-Free Transaction Failure, any discharge of
        indebtedness income or gain under Section 1001 of the Code arising from any discharge of
        indebtedness shall be allocated to the EFH Parties.

                 (e)      Allocation of Tax Attributes. Tax Attributes, if any, remaining after the
Distribution (other than net operating losses) shall be allocated in accordance with the Private Letter Ruling
or, if not addressed in the Private Letter Ruling, between the Reorganized EFH Entities, on the one hand,
and the Reorganized TCEH Entities, on the other hand, in accordance with the Code and Treasury
Regulations, including Treasury Regulations Section 1.1502-76 (and any applicable state, local and foreign
Laws) and, with respect to earnings and profits, as initially requested in the IRS Submissions. The
allocation of such Tax Attributes shall be determined by treating the Reorganized TCEH Entities as one
consolidated group and the Reorganized EFH Entities as a separate and distinct consolidated group. Any



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disputes shall be resolved by the Accounting Firm in accordance with Section 9.02. The EFH Parties and
Reorganized TCEH hereby agree to compute all Taxes consistently with the determination of the allocation
of Tax Attributes pursuant to this Section 2.04(e) unless otherwise required by a Final Determination.

        Section 2.05      Allocation of Separation-Related Taxes.

                 (a)     No-Fault. Income Taxes attributable to a Tax-Free Transaction Failure, to the
extent not allocated pursuant to Sections 2.05(b), (c) or (d), shall be allocated to the EFH Parties.

                 (b)      EFH Breach. Income Taxes principally attributable to a Tax-Free Transaction
Failure as a result of an EFH Breach shall be allocated to the EFH Parties.

                (c)      Reorganized TCEH Breach. Incomes Taxes principally attributable to a Tax-Free
Transaction Failure as a result of Reorganized TCEH Breach shall be allocated to the Reorganized TCEH
Entities.

                 (d)       Certain Actions by TCEH First Lien Creditors and Holders of Reorganized TCEH
Stock. Income Taxes principally attributable to a Tax-Free Transaction Failure resulting from any action
(including, for the avoidance of doubt, any exchange pursuant to a merger, consolidation, liquidation or
similar transaction) taken by holders of TCEH First Lien Claims or by holders of stock in Reorganized
TCEH with respect to their respective interests (other than (1) any transfers pursuant to and in accordance
with open market stock repurchase programs described in clause (v) of Section 6.01(b); (2) any action
occurring prior to or contemporaneously with the Spin-Off that is expressly described in the Private Letter
Ruling or the EFH – Legal Entity Simplification Steps Chart dated September 23, 2016 and attached to this
Agreement as Exhibit C; (3) the receipt and distribution of the proceeds of the TCEH Settlement Claim
(including any assignment or turning over of the TCEH Settlement Claim Turnover Distributions) described
in Articles III.B.5(c)(ii), III.B.8(b)(ii), III.B.9(b)(ii), III.B.12 or III.B.29(c)(i)(D) of the T-Side Plan; (4)
voting to approve the T-Side Plan; and (5) the mere act of voting by the holders of stock in Reorganized
TCEH except for voting in favor of transactions described in this Section 2.05(d)) that (i) causes the
Distribution not to satisfy the continuity of interest requirement set forth in Treasury Regulations Section
1.368-1(e) or 1.355-2(c)(1), (ii) results in the imposition of any Income Taxes under Section 355(d) or
Section 355(e) of the Code with respect to the Distribution, or (iii) results in the Distribution failing to
satisfy the device test set forth in Treasury Regulations Section 1.355-2(d), shall be allocated to
Reorganized TCEH.

For the avoidance of doubt, Income Taxes principally attributable to a Tax-Free Transaction Failure
resulting from some combination of a Reorganized TCEH breach under Section 2.05(c) and an action under
Section 2.05(d) shall be allocated to the Reorganized TCEH Entities.

        Section 2.06      Audits/Redeterminations. Any redetermined Taxes or Tax Attributes resulting
from an audit shall be allocated between the EFH Parties, on the one hand, and Reorganized TCEH, on the
other hand, in the same manner as they would have been allocated had the redetermined amounts been
known at the time the original Tax liability was computed.

        Section 2.07      Expenses. Except as provided in Section 9.02 in respect of the Accounting Firm,
each Party shall bear its own expenses incurred in connection with this Article II.

         Section 2.08   Timing of Payments. Any reimbursement of Taxes under Section 2.01 shall be
made upon the later of (a) two (2) business days before the Due Date of such payment of such Taxes and
(b) ten (10) business days after the party required to make such reimbursement has received notice from



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the party entitled to such reimbursement. For the avoidance of doubt, a party may provide notice of
reimbursement of Taxes prior to the time such Taxes were paid, and such notice may represent a reasonable
estimate (provided, that the amount of reimbursement shall be based on the actual Tax liability and not on
such reasonable estimate).

                                               ARTICLE III

                                               Indemnification

         Section 3.01    Indemnification by the Reorganized EFH Entities. The Reorganized EFH Entities,
on a joint and several basis, shall pay (or cause to be paid), and shall indemnify and hold each Reorganized
TCEH Entity harmless from and against, without duplication, all EFH Taxes and all losses or damages
arising out of, resulting from or relating to any breach by any Reorganized EFH Entity of any EFH
representation, warranty, covenant or agreement in this Agreement (including, in the case of a Tax-Free
Transaction Failure pursuant to Section 2.05(b), any reduced depreciation, amortization or similar
deduction or any reduced loss or increased gain, in each case resulting from a reduction in the income tax
basis of any asset of any Reorganized TCEH Entity resulting from such Tax-Free Transaction Failure
pursuant to Section 2.05(b), such loss or damage determined (a) without regard to any tax receivable
agreement or similar arrangement with respect to any Reorganized TCEH Entity and (b) taking into account
any Final Determinations relating to the income tax basis of any asset immediately after the Spin-Off);
provided, that for the avoidance of doubt, for so long as the Oncor Entities have not executed a joinder to
this Agreement pursuant to Section 9.20, the Oncor Entities shall have no obligation under this Section
3.01.

         Section 3.02    Indemnification by the Reorganized TCEH Entities. The Reorganized TCEH
Entities, on a joint and several basis, shall pay (or cause to be paid), and shall indemnify and hold each
Reorganized EFH Entity harmless from and against, without duplication, all Reorganized TCEH Taxes and
all losses or damages arising out of, resulting from or relating to any breach by any Reorganized TCEH
Entity of any Reorganized TCEH representation, warranty, covenant or agreement in this Agreement.

        Section 3.03     Characterization of and Adjustments to Payments.

                 (a)    In the absence of a Final Determination to the contrary, for all Tax purposes, EFH
and Reorganized TCEH shall treat or cause to be treated any payment required by this Agreement (other
than any payment treated for Tax purposes as interest) as either a contribution by EFH to Reorganized
TCEH or a distribution by Reorganized TCEH to EFH, as the case may be, occurring immediately prior to
the Distribution.

                 (b)     Any indemnity payment pursuant to this Agreement shall be (A) increased to
include (i) all reasonable accounting, legal, and other professional fees and court costs and damages
incurred by the Indemnified Party in connection with such indemnity payment and (ii) any Tax Cost to such
Indemnified Party or its Affiliates resulting from the receipt of (or entitlement to) such indemnity payment
and (B) decreased to account for any Tax Benefit that the Indemnified Party or its Affiliates actually realizes
by way of a Refund or a decrease in Taxes reported on a filed Tax Return (in or with respect to a taxable
year that ends on or before December 31, 2021) in connection with the incurrence or the payment by the
Indemnified Party of such fees or costs or indemnifiable amounts determined using a “with and without”
methodology (treating any deductions attributable to such fees or costs or indemnifiable amounts as the last
items claimed for any taxable year, including after the utilization of any available net operating loss
carryovers). In the event that any Tax Cost or Tax Benefit is not actually realized at the time of the




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indemnity payment by the Indemnifying Party to the Indemnified Party, the payment related to such Tax
Cost or Tax Benefit shall be paid at the time the Tax Cost or Tax Benefit is actually realized.

          Section 3.04     Timing of Indemnification Payments. Indemnification payments in respect of any
liabilities for which an Indemnified Party is entitled to indemnification pursuant to this Article III shall be
paid by the Indemnifying Party to the Indemnified Party within ten (10) days after written notification
thereof by the Indemnified Party, including reasonably satisfactory documentation setting forth the basis
for, and calculation of, the amount of such indemnification payment. If an indemnification obligation is
attributable to a Tax which the Indemnified Party pays, but for which no Final Determination has been
made (such as a payment in response to an asserted adjustment in audit, which adjustment remains subject
to further challenge), then the Indemnifying Party shall pay such amounts to the Indemnified Party within
ten (10) days after written notification thereof by the Indemnified Party, including reasonably satisfactory
documentation setting forth the basis for, and calculation of, the amount of such indemnification payment,
provided, that, in the event that such amounts are returned or refunded to Indemnified Party, the Indemnified
Party shall pay such amounts to the Indemnifying Party within (10) days of receipt thereof plus interest at
a rate equal to the rate provided in Section 9.04.

         Section 3.05     Exclusive Remedy. Anything to the contrary in this Agreement notwithstanding,
but in all events subject to Article VIII, the EFH Parties and the Reorganized TCEH Entities hereby agree
that the sole and exclusive monetary remedy of a party for any breach or inaccuracy of any representation,
warranty, covenant or agreement contained in Section 6.01 shall be the indemnification rights set forth in
this Article III.

        Section 3.06    No Duplicative Payment. Notwithstanding anything to the contrary in this
Agreement, it is intended that the provisions of this Agreement will not result in a duplicative payment of
any amount required to be paid under any other Transaction Agreement, and this Agreement shall be
construed accordingly.

                                               ARTICLE IV

                             Refunds, Timing Differences, and Tax Attributes

        Section 4.01     Refunds.

                 (a)     Except as provided in Section 4.02, EFH shall be entitled to all Refunds of Taxes
for which a Reorganized EFH Entity or its Affiliates is responsible pursuant to Article III, and Reorganized
TCEH shall be entitled to all Refunds of Taxes for which Reorganized TCEH or its Affiliates is responsible
pursuant to Article III. A Party receiving a Refund to which the other Party is entitled pursuant to this
Agreement shall pay the amount to which such other Party is entitled (less any Tax or other reasonable out-
of-pocket costs incurred by the first Party in receiving such Refund) within ten (10) days after the receipt
of the Refund.

               (b)     To the extent that the amount of any Refund under this Section 4.01 is later reduced
by a Taxing Authority or in a Tax Proceeding, such reduction shall be allocated to the Party to which such
Refund was allocated pursuant to this Section 4.01 and an appropriate adjusting payment shall be made.

         Section 4.02    Timing Differences. If pursuant to a Final Determination any Tax Attribute
(including those allocated pursuant to Section 2.04(e)) is made allowable to a Reorganized TCEH Entity as
a result of an adjustment to any Taxes for which an EFH Party is responsible hereunder (other than Taxes
attributable to a Tax-Free Transaction Failure described in Section 2.05(a) or Section 2.05(b)) and such Tax



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Attribute would not have arisen or been allowable but for such adjustment, or if pursuant to a Final
Determination any Tax Attribute is made allowable to a Reorganized EFH Entity as a result of an
adjustment to any Taxes for which Reorganized TCEH is responsible hereunder (other than Taxes
attributable to a Tax-Free Transaction Failure described in Section 2.05(c) or 2.05(d)) and such Tax
Attribute would not have arisen or been allowable but for such adjustment, the Reorganized TCEH Entities
(on a joint and several basis) or the Reorganized EFH Entities (on a joint and several basis), as the case
may be, shall make a payment to either EFH or Reorganized TCEH, as appropriate, within thirty (30) days
after such Party (or its Affiliates) actually realizes a Tax benefit by way of a Refund or a decrease in Taxes
reported on a filed Tax Return (in or with respect to a taxable year that ends on or before December 31,
2021) that is attributable to such Tax Attribute, determined using a “with and without” methodology
(treating any deductions or amortization attributable to such Tax Attributes as the last items claimed for
any taxable year, including after the utilization of any available net operating loss carryovers); provided,
that no payment shall be made under this Section unless Reorganized TCEH or EFH, as the case may be,
has previously paid the Tax adjustment or indemnified the other Party for such Tax adjustment. In the
event of any overlap between Section 3.03 and this Section 4.02, this Section 4.02 shall apply and Section
3.03 shall not apply.

                                                ARTICLE V

                                              Tax Proceedings

         Section 5.01     Notification of Tax Proceedings. Within ten (10) days after an Indemnified Party
becomes aware of the commencement of a Tax Proceeding that may give rise to an indemnity payment
pursuant to Article III, such Indemnified Party shall notify the Indemnifying Party in writing of such Tax
Proceeding, and thereafter shall promptly forward or make available to the Indemnifying Party copies of
notices and communications relating to such Tax Proceeding. The failure of the Indemnified Party to notify
the Indemnifying Party in writing of the commencement of any such Tax Proceeding within such ten (10)
day period or promptly forward any further notices or communications shall not relieve the Indemnifying
Party of any obligation which it may have to the Indemnified Party under this Agreement except to the
extent (and only to the extent) that the Indemnifying Party is actually materially prejudiced by such failure.

        Section 5.02     Tax Proceeding Procedures.

                 (a)     EFH. EFH shall be entitled to contest, compromise, and settle any adjustment that
is proposed, asserted or assessed pursuant to any Tax Proceeding with respect to any Tax Return it is
responsible for preparing pursuant to Article II; provided, that to the extent that such Tax Proceeding relates
to Reorganized TCEH Taxes or would reasonably be expected to materially adversely affect the Tax
position of any Reorganized TCEH Entity for any Post-Distribution Period, EFH shall (i) keep Reorganized
TCEH informed in a timely manner of the material actions proposed to be taken by EFH with respect to
such Tax Proceeding, (ii) permit Reorganized TCEH at its own expense to participate in the aspects of such
Tax Proceeding that relate to Reorganized TCEH Taxes, and (iii) not settle any aspect of such Tax
Proceeding that relates to Reorganized TCEH Taxes without the prior written consent of Reorganized
TCEH, which shall not be unreasonably withheld, delayed or conditioned. Notwithstanding the foregoing,
Reorganized TCEH shall have the right (at its own incremental expense) to jointly control any Tax
Proceeding that relates primarily to Taxes for which Reorganized TCEH has an indemnification obligation
pursuant to Section 3.02.

              (b)    Reorganized TCEH.          Except as otherwise provided in Section 5.02(a),
Reorganized TCEH shall be entitled to contest, compromise, and settle any adjustment that is proposed,




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asserted or assessed pursuant to any Tax Proceeding with respect to any Tax Return it is responsible for
preparing pursuant to Article II; provided, that to the extent that such Tax Proceeding relates to EFH Taxes
or would reasonably be expected to materially adversely affect the Tax position of any Reorganized EFH
Entity, Reorganized TCEH shall (i) keep EFH informed in a timely manner of the material actions proposed
to be taken by Reorganized TCEH with respect to such Tax Proceeding, (ii) permit EFH at its own expense
to participate in the aspects of such Tax Proceeding that relate to EFH Taxes, and (iii) not settle any aspect
of such Tax Proceeding that relates to EFH Taxes without the prior written consent of EFH, which shall not
be unreasonably withheld, delayed or conditioned. Notwithstanding the foregoing, the EFH Parties shall
have the right (at their own incremental expense) to jointly control any Tax Proceeding that relates primarily
to Taxes for which EFH Parties have an indemnification obligation pursuant to Section 3.01.

         Section 5.03     Consistency. The Parties shall (and shall cause each of their respective
Subsidiaries to) take the position on all Tax Returns and in all Tax Proceedings (including in supplemental
ruling request submissions to the IRS), unless otherwise required by a Final Determination, that (a) the
transactions contemplated by the T-Side Plan qualify for the Intended Tax Treatment, (b) the fair market
value of each Stepped-Up TCEH Asset on the Distribution Date is equal to the value of such asset that has
been reasonably agreed to by the TCEH Supporting First Lien Creditors and the Debtors, and (c) the
transactions contemplated by the EFH Plan do not modify the tax consequences contemplated by clauses
(a) and (b) of this Section 5.03.

                                               ARTICLE VI

                                          Intended Tax Treatment

        Section 6.01     Restrictions Relating to the Distribution.

                  (a)      General. Following the Distribution, (i) EFH will not (and will cause each other
Reorganized EFH Entity and its Affiliates not to) take any action (or refrain from taking any action) which
is inconsistent with the facts presented and the representations made prior to the Distribution Date in the
Tax Materials and (ii) Reorganized TCEH will not (and will cause each other Reorganized TCEH Entity
and its Affiliates not to) take any action (or refrain from taking any action) which is inconsistent with the
facts presented and the representations made prior to the Distribution Date in the Tax Materials.

                 (b)      Restrictions. Without derogating from the generality of Section 6.01(a), following
the Distribution and prior to the first day following the second anniversary of the Distribution Date (the
“Restriction Period”), each EFH Party and Reorganized TCEH shall, and except with respect to clause (iii)
and (v) of this Section 6.01(b), shall cause each of its respective Subsidiaries set forth on Exhibit A to:

                        (i)     continue the active conduct of each trade or business (for purposes of
        Section 355(b) of the Code and the Treasury Regulations thereunder) (A) that it was engaged in
        immediately prior to the Distribution (taking into account Section 355(b)(3) of the Code), (B) that
        was being relied upon for purposes of satisfying the requirements of Section 355(b) of the Code
        and the Treasury Regulations thereunder and (C) the substantial assets of which are identified on
        Exhibit B;

                         (ii)     continue to hold and operate certain assets identified on Exhibit B and held
        at the time of the Distribution;

                        (iii)   not dissolve or liquidate or take any action that is a liquidation for U.S.
        federal income tax purposes;



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                        (iv)    not merge or consolidate with any other Person with such other Person
        surviving the merger or consolidation in a transaction that does not qualify as a reorganization
        under Section 368(a) of the Code;

                         (v)      not redeem or otherwise repurchase (directly or indirectly through an
        Affiliate) any of its equity other than pursuant to open market stock repurchase programs meeting
        the requirements of Section 4.05(1)(b) of Revenue Procedure 96-30 (as in effect prior to the
        amendment of such Revenue Procedure by Revenue Procedure 2003-48);

                        (vi)     not directly or indirectly acquire any of the Preferred Stock; and

                         (vii)  not take any action in furtherance of a shareholder action described in
        Section 2.05(d) that would result in a Tax-Free Transaction Failure described in clauses (i)–(iii) of
        Section 2.05(d).

                 (c)     Certain Exceptions. Notwithstanding the restrictions imposed by Section 6.01(b),
during the Restriction Period, the EFH Parties and Reorganized TCEH may proceed with any of the actions
or transactions described therein, if:

                          (i)     such action or transaction is described in (or is otherwise consistent with)
        the facts in the Private Letter Ruling;

                         (ii)     a supplemental private letter ruling is received from the IRS in form and
        substance reasonably satisfactory to EFH and Reorganized TCEH to the effect that such action or
        transaction will not affect the Intended Tax Treatment

                          (iii)    EFH or Reorganized TCEH, as the case may be, obtains an Unqualified
        Tax Opinion with respect to such action or transaction that is reasonably acceptable to the other
        Party at least thirty (30) days prior to effecting such action or transaction;

                       (iv)   such action is the issuing of stock or options to employees under a
        compensation plan adopted after the Distribution; or

                        (v)     such action by the EFH Parties and/or their Affiliates is approved in
        writing by Reorganized TCEH and such action by Reorganized TCEH and/or its Affiliates is
        approved in writing by EFH.

If the EFH Parties, on the one hand, or Reorganized TCEH, on the other, takes or desires to take one of the
actions described in Section 6.01(b) (if taken by the EFH Parties, an “EFH Notified Action,” if taken by
Reorganized TCEH, a “Reorganized TCEH Notified Action” and, generically, a “Notified Action”), the
Party taking the action shall notify the other Party and the EFH Parties and Reorganized TCEH shall
cooperate in obtaining a supplemental private letter ruling from the IRS or Unqualified Tax Opinions for
the purpose of permitting the EFH Parties or Reorganized TCEH to take the Notified Action.

                 (d)    EFH Party Covenants. Each EFH Party shall not and shall cause each of its
Subsidiaries not to:

                         (i)    propose or support an EFH Plan or any other transaction (A) pursuant to
        which EFH or EFIH, directly or indirectly, transfers their indirect economic interest in the Oncor
        Entities, the consummation of which would breach this Agreement or (B) which would reasonably



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        be expected to create a material risk of (x) a Tax-Free Transaction Failure or (y) a breach by the
        EFH Parties of any term or condition of this Agreement; and

                         (ii)     take any action without the consent of Reorganized TCEH outside the
        ordinary course of business that, in the reasonable determination of Reorganized TCEH, would
        give rise to $250 million or more of net taxable income recognized by the EFH Group (when
        combined with any other net taxable income of the EFH Group, but excluding, for the avoidance
        of doubt, (x) the net taxable income arising in connection with the transactions constituting the
        Spin-Off and (y) any Agreed Tax Attributes) in the same taxable year as the TCEH Effective Date;
        provided, however, that in the event an EFH Party seeks to take any action outside the ordinary
        course of business that, in the reasonable determination of Reorganized TCEH, would give rise to
        $250 million or more of net taxable income recognized by the EFH Group (when combined with
        any other net taxable income of the EFH Group, but excluding, for the avoidance of doubt, (x) the
        net taxable income arising in connection with the Spin-Off Preferred Stock Sale and (y) any Agreed
        Tax Attributes) in the same taxable year as the TCEH Effective Date, Reorganized TCEH shall
        consent to such transaction if it concludes in its sole discretion that such transaction will not give
        rise to a material risk of nonpayment of an amount owed (whether due to such transaction or
        otherwise) under this Agreement or to an applicable taxing authority.

                (e)      Additional Covenants.

                         (i)      Supplemental submissions with respect to the Private Letter Ruling shall
        be made to reflect any material developments with respect to the EFH Plan to the extent such
        developments may implicate the Intended Tax Treatment. Parent and Reorganized TCEH shall
        have the right to participate in such supplemental submissions, including by (A) commenting on
        written submissions, (B) having participation in in-person conferences, (C) having participation in
        scheduled, substantive telephone conferences with the IRS, and (D) being updated promptly
        regarding any unscheduled communications with the IRS or any other communications with respect
        to which Parent or Reorganized TCEH does not participate; provided, however, that Parent and
        Reorganized TCEH shall work in good faith with counsel for the EFH Parties to determine the
        appropriate level of participation by any other persons in any particular meeting or conference.

                                              ARTICLE VII

                                                 Cooperation

         Section 7.01    General Cooperation. The Parties shall each cooperate fully (and each shall cause
its respective Subsidiaries to cooperate fully) with all reasonable requests in writing or via e-mail from
another Party, or from an agent, representative or advisor to such Party, in connection with the preparation
and filing of Tax Returns, claims for Refunds, Tax Proceedings, Tax ruling requests, and calculations of
amounts required to be paid pursuant to this Agreement, in each case, related or attributable to or arising in
connection with Taxes of any of the Parties or their respective Subsidiaries covered by this Agreement and
the establishment of any reserve required in connection with any financial reporting (a “Tax Matter”). Such
cooperation shall include the provision of any information reasonably necessary or helpful in connection
with a Tax Matter and shall include at each Party’s own cost:

                        (i)    the provision, in hard copy and electronic forms, of any Tax Returns (or
        proforma returns) of the Parties and their respective Subsidiaries, books, records (including
        information regarding ownership and Tax basis of property), documentation, and other information




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        relating to such Tax Returns (or proforma returns), including accompanying schedules, related
        work papers, and documents relating to rulings or other determinations by Taxing Authorities;

                         (ii)    the execution of any document (including any power of attorney)
        reasonably requested by another Party in connection with any Tax Proceedings of any of the Parties
        or their respective Subsidiaries, or the filing of a Tax Return or a Refund claim of the Parties or
        any of their respective Subsidiaries; and

                        (iii)   the use of the Party’s reasonable best efforts to obtain any documentation
        in connection with a Tax Matter.

         Each Party shall make its employees, advisors, and facilities available, without charge, on a
reasonable and mutually convenient basis in connection with the foregoing matters in a manner that does
not interfere with the ordinary business operations of such Party.

         Section 7.02     Retention of Records. The EFH Parties and Reorganized TCEH shall retain or
cause to be retained all Tax Returns, schedules, and work papers, and all material records or other
documents relating thereto in their possession, including all such electronic records, and shall maintain all
hardware necessary to retrieve such electronic records, in all cases until sixty (60) days after the expiration
of the applicable statute of limitations (including any waivers or extensions thereof) of the taxable periods
to which such Tax Returns and other documents relate or until the expiration of any additional period that
any Party reasonably requests, in writing, with respect to specific material records and documents. A Party
intending to destroy any material records or documents shall provide the other Party with reasonable
advance notice and the opportunity to copy or take possession of such records and documents. The Parties
will notify each other in writing of any waivers or extensions of the applicable statute of limitations that
may affect the period for which the foregoing records or other documents must be retained.

         Section 7.03    Failure to Perform. If a Party materially fails to comply with any of its obligations
set forth in Sections 7.01 or 7.02 upon reasonable request and notice by the other Party, and such failure
results in the imposition of additional Taxes, the non-performing Party shall be liable in full for such
additional Taxes notwithstanding anything to the contrary in this Agreement.

                                              ARTICLE VIII

                                   Provisions of EFH Plan; Enforcement

        Section 8.01     Provisions of EFH Plan.

                 (a)     Each Party agrees not to attempt to seek or to argue that an EFH Plan, or any other
transaction (including a sale pursuant to Section 363 of the Bankruptcy Code) for any of the EFH Parties,
can or should be confirmed or approved by the Bankruptcy Court if (x) the consummation of such an EFH
Plan, or any other transaction (including a sale pursuant to Section 363 of the Bankruptcy Code) for any of
the EFH Parties would reasonably be expected to create a material risk of (A) a Tax-Free Transaction
Failure or (B) causing a breach by the EFH Parties of any term or condition of this Agreement or (y) it
provides that any claim (A) arising from a breach by any of the EFH Parties of any term or condition of this
Agreement or (B) for indemnification under Section 3.01 is released or deemed discharged under an EFH
Plan.

                 (b)     Each Party shall object to and oppose any proposed EFH Plan, or any other
transaction (including a sale pursuant to Section 363 of the Bankruptcy Code) for any of the EFH Parties



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that (x) would reasonably be expected to create a material risk of (A) a Tax-Free Transaction Failure or (B)
causing a breach by the Parties of any term or condition of this Agreement or (y) provides that any claim
(A) arising from a breach by any of the EFH Parties of any term or condition of this Agreement or (B) for
indemnification under Section 3.01, is released or deemed discharged under an EFH Plan.

        Section 8.02     Enforcement.

                (a)     Until the substantial consummation of an EFH Plan that is consistent with the terms
and conditions of this Agreement:

                          (i)     The Parties agree that irreparable damage would occur in the event that
        any of the provisions of this Agreement were not performed by the EFH Parties in accordance with
        their specific terms and that monetary damages, even if available, would not be an adequate remedy
        therefor. It is accordingly agreed that with respect to each EFH Party, this Agreement shall be
        enforceable as against such EFH Party by specific performance or other injunctive relief, without
        proof of actual damages (and each EFH Party hereby waives any requirement for the securing or
        posting of any bond in connection with such remedy), in addition to any other remedy available
        against such EFH Party at law or equity. Each EFH Party knowingly, voluntarily and
        unconditionally (i) waives its rights to revoke, terminate, avoid, disaffirm or reject this Agreement,
        or any portion thereof, pursuant to the Bankruptcy Code or other applicable law, including Section
        365 of the Bankruptcy Code and (ii) agrees that it shall not support, directly or indirectly, and shall
        oppose, any request by any other party-in-interest to compel, require or otherwise request that this
        Agreement or any portion thereof be revoked, avoided, disaffirmed, terminated or rejected for any
        reason.

                         (ii)    Without limiting in any manner the right to obtain specific performance or
        other injunctive relief pursuant to Section 8.02(a)(i), if a Party elects to seek monetary damages,
        any claim against an EFH Party under this Agreement shall be non-dischargeable under any EFH
        Plan and entitled to superpriority administrative claim status, junior only to (i) the EFIH First Lien
        DIP Facility or a future EFIH Second Lien DIP Facility (if any) to the extent the proceeds thereof
        are used solely to repay the EFIH Second Lien Note Claims (as defined in the Plan) and for fees
        and expenses related to such repayment, (ii) the Carve-Out (as defined in any applicable EFIH
        debtor-in-possession financing order), and (iii) any of the following fees owed by EFH (subject to
        the same caps applicable to the Carve-Out): (A) all fees required to be paid to the Clerk of the
        Court and to the Office of the United States Trustee under Section 1930(a) of title 28 of the United
        States Code plus interest at the statutory rate; (B) reasonable fees and expenses incurred by a trustee
        under Section 726(b) of the Bankruptcy Code; and (C) to the extent allowed at any time, whether
        by interim order, procedural order, or otherwise, all unpaid fees and expenses incurred by persons
        or firms retained by (1) the EFH Debtors, pursuant to Section 327, 328, or 363 of the Bankruptcy
        Code, and (2) the EFH/EFIH Committee.

                                               ARTICLE IX

                                               Miscellaneous

         Section 9.01     Governing Law. This Agreement and all issues and questions concerning the
construction, validity, enforcement, and interpretation of this Agreement (and all Schedules and Exhibits)
shall be governed by, and construed in accordance with, the laws of the State of Delaware, without giving
effect to any choice of law or conflict of law rules or provisions (whether of the State of Delaware or any
other jurisdiction) that would cause the application of the laws of any jurisdiction other than the State of


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Delaware. In furtherance of the foregoing, the internal laws of the State of Delaware shall control the
interpretation and construction of this Agreement (and all Schedules and Exhibits), even though under that
jurisdiction’s choice of law or conflict of law analysis, the substantive law of some other jurisdiction would
ordinarily apply.

         Section 9.02      Dispute Resolution. In the event of any dispute among the Parties as to any matter
covered by Sections 2.02, 2.03 or 2.04, the Parties shall appoint a nationally recognized independent public
accounting firm (the “Accounting Firm”) to resolve such dispute. In this regard, the Accounting Firm shall
make determinations with respect to the disputed items based solely on representations made by the EFH
Parties and Reorganized TCEH and their respective representatives, and not by independent review, and
shall function only as an expert and not as an arbitrator and shall be required to make a determination in
favor of one Party only. The Parties shall require the Accounting Firm to resolve all disputes no later than
thirty (30) days after the submission of such dispute to the Accounting Firm and agree that all decisions by
the Accounting Firm with respect thereto shall be final and conclusive and binding on the Parties. The
Accounting Firm shall resolve all disputes in a manner consistent with this Agreement. The Parties shall
require the Accounting Firm to render all determinations in writing and to set forth, in reasonable detail,
the basis for such determination. The fees and expenses of the Accounting Firm shall be borne equally by
the Parties. For the avoidance of doubt, any dispute among the Parties as to any matter not covered by
Sections 2.02, 2.03 or 2.04 shall be governed by the provisions set forth in Section 9.16.

        Section 9.03    Tax Sharing Agreements. All Tax sharing, indemnification, and similar
agreements, written or unwritten, as between a Reorganized EFH Entity, on the one hand, and a
Reorganized TCEH Entity, on the other (other than this Agreement and any other agreement for which
Taxes is not the principal subject matter), were terminated (and, to the extent provided under the T-Side
Plan or EFH Plan, settled) no later than the TCEH Effective Date and no Reorganized EFH Entity or
Reorganized TCEH Entity shall have any further rights or obligations under any such Tax sharing,
indemnification or similar agreement, except as provided in the T-Side Plan or EFH Plan, as applicable.

        Section 9.04    Interest on Late Payments. With respect to any payment among the Parties
pursuant to this Agreement not made by the due date set forth in this Agreement for such payment, the
outstanding amount will accrue interest at a rate per annum equal to the rate in effect for underpayments
under Section 6621 of the Code from such due date to and including the payment date.

        Section 9.05    Survival of Covenants. Except as otherwise contemplated by this Agreement, the
covenants and agreements contained herein to be performed following the Distribution shall survive the
Distribution in accordance with their respective terms.

         Section 9.06      Severability. If any provision of this Agreement or the application of any such
provision to any Person or circumstance shall be declared judicially to be invalid, unenforceable or void,
such decision shall not have the effect of invalidating or voiding the remainder of this Agreement, it being
the intent and agreement of the Parties that this Agreement shall be deemed amended by modifying such
provision to the extent necessary to render it valid, legal, and enforceable to the maximum extent permitted
while preserving its intent or, if such modification is not possible, by substituting therefor another provision
that is valid, legal, and enforceable and that achieves the original intent of the Parties.

         Section 9.07  Entire Agreement. This Agreement, the Exhibits, the other Transaction
Agreements, the T-Side Plan, the EFH Plan, and the other documents referred to herein shall constitute the
entire agreement among the Parties with respect to the subject matter hereof and shall supersede all previous
negotiations, commitments, and writings with respect to such subject matter. Except as otherwise expressly




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provided herein, in the case of any conflict between the terms of this Agreement and the terms of any other
agreement, the terms of this Agreement shall control.

         Section 9.08     Assignment. This Agreement shall not be assigned or delegated by a Party (in
each case, whether (x) by merger, consolidation or dissolution of a Party, (y) by contract, operation of law
or (z) otherwise) without the prior written consent of the other Parties, and any purported assignment or
delegation in violation of this Agreement shall be null and void. Notwithstanding the foregoing, the Parties
hereby acknowledge that the surviving entity of any merger involving any Party shall be entitled and subject
to all of the rights, benefits and obligations of the Company pursuant to this Agreement. For purposes of
this Section 9.08, the term “merger” refers to any merger in which a Party is a constituent entity, regardless
of whether it is the surviving or merged entity. As a condition to, and prior to the consummation of, any
direct or indirect transfer or other disposition of all or substantially all of its assets (whether in a single
transaction or a series of related or unrelated transactions) the Party engaging in such transfer or other
disposition shall require the transferee to assume all of such Party’s obligations hereunder.

         Section 9.09    No Third Party Beneficiaries. Nothing in this Agreement, express or implied, is
intended to or shall confer upon any Person (other than the Parties and their respective successors and
permitted assigns) any legal or equitable right, benefit or remedy of any nature whatsoever under or by
reason of this Agreement, and, except as provided in Article III relating to certain indemnitees, no Person
shall be deemed a third party beneficiary under or by reason of this Agreement.

        Section 9.10     Performance. Each EFH Party shall cause to be performed, and hereby guarantees
the performance of, all actions, agreements, and obligations set forth herein to be performed by an Affiliate
of such EFH Party, and each Reorganized TCEH Entity shall cause to be performed, and hereby guarantees
the performance of, all actions, agreements, and obligations set forth herein to be performed by an Affiliate
of Reorganized TCEH.

         Section 9.11     Amendments; Waivers. This Agreement may not be amended except by an
instrument in writing signed by each of the Parties. No failure or delay by any Party in exercising any right
hereunder shall operate as a waiver thereof nor shall any single or partial exercise thereof preclude any
other or further exercise thereof or the exercise of any other right hereunder. Any agreement on the part of
any Party to any such waiver shall be valid only if set forth in an instrument in writing signed on behalf of
such Party.

         Section 9.12      Interpretation. The Parties have participated jointly in the negotiation and drafting
of this Agreement, and in the event an ambiguity or question of intent or interpretation arises, this
Agreement shall be construed as if drafted jointly by the Parties, and no presumption or burden of proof
shall arise favoring or disfavoring any Party by virtue of the authorship of any provisions of this Agreement.

        Section 9.13    Counterparts. This Agreement may be executed in one or more counterparts each
of which when executed shall be deemed to be an original but all of which taken together shall constitute
one and the same agreement. Delivery of an executed counterpart of a signature page to this Agreement by
facsimile or portable document format (PDF) shall be as effective as delivery of a manually executed
counterpart of any such Agreement.

        Section 9.14     Confidentiality. Each Party shall hold and cause its directors, officers, employees,
advisors, and consultants to hold in strict confidence, unless compelled to disclose by judicial or
administrative process or, in the opinion of its counsel, by other requirements of law, all information (other
than any such information relating solely to the business or affairs of such party) concerning the other Party
furnished it by such other Party or its representatives pursuant to this Agreement (except to the extent that



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such information can be shown to have been (a) in the public domain through no fault of such Party or (b)
later lawfully acquired from other sources not under a duty of confidentiality by the party to which it was
furnished), and no Party shall release or disclose such information to any other Person, except its directors,
officers, employees, auditors, attorneys, financial advisors, bankers or other consultants who shall be
advised of and agree to be bound by the provisions of this Section 9.14. Each Party shall be deemed to
have satisfied its obligation to hold confidential information concerning or supplied by the other Party if it
exercises the same care as it takes to preserve confidentiality for its own similar information. Except as
required by law or with the prior written consent of the other Party, all Tax Returns, documents, schedules,
work papers and similar items and all information contained therein, and any other information that is
obtained by a Party or any of its Affiliates pursuant to this Agreement, shall be kept confidential by such
Party and its Affiliates and representatives, shall not be disclosed to any other Person, and shall be used
only for the purposes provided herein. If a Party or any of its Affiliates is required by law to disclose any
such information, such Party shall give written notice to the other Party prior to making such disclosure.

      Section 9.15 Waiver of Jury Trial. AS A SPECIFICALLY BARGAINED INDUCEMENT
FOR EACH PARTY TO ENTER INTO THIS AGREEMENT (WITH EACH PARTY HAVING HAD
OPPORTUNITY TO CONSULT COUNSEL), EACH PARTY EXPRESSLY AND IRREVOCABLY
WAIVES THE RIGHT TO A TRIAL BY JURY IN ANY ACTION OR PROCEEDING UNDER THIS
AGREEMENT OR ANY ACTION OR PROCEEDING ARISING OUT OF THE TRANSACTIONS
CONTEMPLATED HEREBY OR ANY OTHER TRANSACTION AGREEMENT, REGARDLESS OF
WHICH PARTY INITIATES SUCH ACTION OR PROCEEDING, AND ANY ACTION OR
PROCEEDING UNDER THIS AGREEMENT OR ANY ACTION OR PROCEEDING ARISING OUT
OF THE TRANSACTIONS CONTEMPLATED HEREBY OR ANY OTHER TRANSACTION
AGREEMENT SHALL BE TRIED IN A COURT OF COMPETENT JURISDICTION BY A JUDGE
SITTING WITHOUT A JURY.

         Section 9.16      Jurisdiction; Service of Process. Any action with respect to this Agreement and
the rights and obligations arising hereunder, or for recognition and enforcement of any judgment in respect
of this Agreement and the rights and obligations arising hereunder brought by a Party or its successors or
assigns, in each case, shall be brought and determined exclusively in the Bankruptcy Court (or, if the
Bankruptcy Court declines to accept jurisdiction over a particular matter, then the Chancery Court of the
State of Delaware, and if the Chancery Court of the State of Delaware declines jurisdiction, then any state
or federal court sitting in Delaware). Each Party hereby irrevocably waives, and agrees not to assert, by
way of motion, as a defense, counterclaim or otherwise, in any Action with respect to this Agreement (a)
any claim that is not personally subject to the jurisdiction of the above named courts for any reason other
than the failure to serve in accordance with this Section 9.16, (b) any claim that it or its property is exempt
or immune from jurisdiction of any such court or from any legal process commenced in such courts
(whether through service of notice, attachment prior to judgment, attachment in aid of execution of
judgment, execution of judgment or otherwise), and (c) to the fullest extent permitted by applicable law,
any claim that (i) the Action in such court is brought in an inconvenient forum, (ii) the venue of such Action
is improper or (iii) this Agreement, or the subject matter hereof, may not be enforced in or by such courts.
Each Party further agrees that no Party to this Agreement shall be required to obtain, furnish or post any
bond or similar instrument in connection with or as a condition to obtaining any remedy referred to in this
Section 9.16 and each Party waives any objection to the imposition of such relief or any right it may have
to require the obtaining, furnishing or posting of any such bond or similar instrument. The Parties hereby
agree that mailing of process or other papers in connection with any such action or proceeding in the manner
provided in Section 9.17, or in such other manner as may be permitted by law, shall be valid and sufficient
service thereof and hereby waive any objections to service accomplished in the manner herein provided.
NOTWITHSTANDING THIS SECTION 9.15, ANY DISPUTE REGARDING SECTIONS 2.02, 2.03 OR



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2.04 SHALL BE RESOLVED IN ACCORDANCE WITH SECTION 9.02; PROVIDED, THAT THE
TERMS OF SECTION 9.02 MAY BE ENFORCED BY EITHER PARTY IN ACCORDANCE WITH
THE TERMS OF THIS SECTION 9.16.

         Section 9.17     Notices.         All notices, requests, claims, demands, and other communications
to be given or delivered under or by the provisions of this Agreement shall be in writing and shall be deemed
given only (a) when delivered personally to the recipient, (b) one (1) Business Day after being sent to the
recipient by reputable overnight courier service (charges prepaid), provided that confirmation of delivery
is received, (c) upon machine-generated acknowledgment of receipt after transmittal by facsimile or (d)
five (5) days after being mailed to the recipient by certified or registered mail (return receipt requested and
postage prepaid). Such notices, demands, and other communications shall be sent to the Parties at the
following addresses (or at such address for a Party as will be specified by like notice):

        If to any EFH Party:

        Sempra Energy
        488 8th Avenue
        San Diego, California 92101
        Attention: General Counsel
        Email: MWyrsch@sempra.com

        and

        White & Case LLP
        Southeast Financial Center
        200 South Biscayne Boulevard, Suite 4900
        Miami, Florida 3131
        Attention: Thomas E Lauria
        Email: tlauria@whitecase.com

        and

        White & Case LLP
        1221 Avenue of the Americas
        New York, NY 10020
        Attention: Gregory Pryor
                   Michael A. Deyong
        E-mail:    gpryor@whitecase.com
                   Michael.deyong@whitecase.com

        If to Reorganized TCEH, after the Distribution:

        Vistra Energy Corp.
        6555 Sierra Drive
        Irving, Texas 75039
        Attention: Stephanie Moore
                    Carla Howard




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        E-mail:      Stephanie.moore@vistraenergy.com
                     Carla.howard@vistraenergy.com

        with a copy (which shall not constitute notice) to:

        KPMG
        2323 Ross Ave., Ste. 1400
        Dallas, TX 75201
        Attention: David Wheat
        E-mail:     dwheat@kpmg.com

        Paul, Weiss, Rifkand, Wharton & Garrison LLP
        1285 Avenue of the Americas
        New York, NY 10019
        ATTN: Alan W. Kornberg
                Brad R. Okun
        Email: akornberg@paulweiss.com
                bokun@paulweiss.com

        Copies to be provided to:

        Kirkland & Ellis LLP
        300 North LaSalle
        Chicago, IL 60654
        Attention: James Sprayregen
                    Marc Kieselstein
                    Chad Husnick

        E-mail:      jsprayregen@kirkland.com
                     mkieselstein@kirkland.com
                     chusnick@kirkland.com


        and

        Kirkland & Ellis LLP
        601 Lexington Avenue
        New York, NY 10022
        Attention: Edward Sassower

        E-mail:      edward.sassower@kirkland.com


         Any Party to this Agreement may notify any other Party of any changes to the address or any of
the other details specified in this paragraph; provided, that such notification shall only be effective on the
date specified in such notice or five (5) Business Days after the notice is given, whichever is later. Rejection
or other refusal to accept or the inability to deliver because of changed address of which no notice was
given shall be deemed to be receipt of the notice as of the date of such rejection, refusal or inability to
deliver. Any notice to any EFH Party will be deemed notice to all the Reorganized EFH Entities, and any
notice to Reorganized TCEH will be deemed notice to all the Reorganized TCEH Entities.


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         Section 9.18    Headings. The headings and captions of the Articles and Sections used in this
Agreement and the table of contents to this Agreement are for reference and convenience purposes of the
Parties only, and will be given no substantive or interpretive effect whatsoever.

        Section 9.19    Effectiveness.

                (a)     Subject to Section 9.19(b), this Agreement became effective upon the Distribution.

                (b)    For the avoidance of doubt, this Agreement shall not become effective with respect
to Parent, Sempra Texas BidCo, LLC or Sempra Texas HoldCo, LLC, until the Merger is consummated.

        Section 9.20    Further Assurances. The EFH Parties shall cause each other Person that is or
becomes a Subsidiary of EFH (other than any such Person or Subsidiary that is “ring fenced,” including the
Oncor Entities) to execute a joinder to this Agreement (a) to become an EFH Party (effective as of the date
such Person becomes a Subsidiary of EFH or ceases to be “ring fenced”) and (b) to be bound by the
obligations of the EFH Parties under this Agreement on a joint and several basis. Reorganized TCEH shall
cause each Reorganized TCEH Entity on the date of this Agreement (y) to execute a joinder to this
Agreement to become a Reorganized TCEH Entity (effective as of the date of this Agreement) and (z) to
be bound by the obligations of the Reorganized TCEH Entities under this Agreement on a joint and several
basis.

                         [The remainder of this page is intentionally left blank.]




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        IN WITNESS WHEREOF, the Parties have caused this Agreement to be amended as of the day
and year first above written.

                                           SEMPRA TEXAS HOLDINGS CORP.                 (F/K/A
                                           ENERGY FUTURE HOLDINGS CORP.)



                                           By:
                                           Name:
                                           Title:



                                           SEMPRA TEXAS INTERMEDIATE HOLDING
                                           COMPANY LLC (F/K/A ENERGY FUTURE
                                           INTERMEDIATE HOLDING COMPANY LLC)



                                           By:
                                           Name:
                                           Title:


                                           Vistra Energy Corp



                                           By:
                                           Name:
                                           Title:
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                           Sempra Texas BidCo, LLC


                          By:
                          Name:
                          Title:



                           Sempra Texas HoldCo, LLC,


                          By:
                          Name:
                          Title:
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                                              Exhibit A

With respect to Reorganized TCEH, each Subsidiary of Reorganized TCEH at the time of the Distribution.

With respect to the EFH Parties, each Subsidiary of the EFH Parties and (without duplication) the Oncor
Entities.




                                               Exhibit A
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                                                  Exhibit B

The Applicable Percentage (by value, determined as of the Distribution Date) of the Applicable Assets;
provided, that for purposes of determining whether the Applicable Percentage is met, any Applicable Asset
(i) whose function in furtherance of the trade or business in which it was used at the time of the Distribution
is materially reduced as a result of casualty, theft, labor strike or other similar action, breakdown, wear-
and-tear, obsolescence, material change in applicable legal or regulatory rules, or other similar event or
occurrence, (ii) that is taken out of production, shut down or sold and whose possible shutdown was
disclosed in any IRS Submission and addressed in the Private Letter Ruling, (iii) that is operated for at least
six months after the Distribution and subsequently disposed of pursuant to a decision of a majority of the
board of directors of the relevant entity made after the expiration of such six-month period following the
Distribution or (iv) that is taken out of production or shut down pursuant to a decision of a majority of the
board of directors of the relevant entity, provided such Applicable Asset is maintained in a state of readiness
in which it can resume production, in each case after the Distribution, shall be ignored (i.e., excluded from
the numerator and the denominator of the calculation).

As used in this Exhibit, the following terms shall have the following meanings:

        “Applicable Assets” means (i) with respect to Reorganized TCEH, the assets held by any
        Reorganized TCEH Entity (other than any asset (or portion thereof) directly or indirectly held by
        the Preferred Stock Entity) and (ii) with respect to the EFH Parties, the assets held by any
        Reorganized EFH Entity.

        “Applicable Percentage” means (i) with respect to Reorganized TCEH, 95% and (ii) with respect
        to the EFH Parties, 67%.




                                                  Exhibit B
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                                 Exhibit C

   EFH – Legal Entity Simplification Steps Chart dated September 23, 2016




                                 Exhibit C
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                                                                                                                                     Energy Future
                                                                                                                                     Holdings Corp
                                                                                                                                          (TX)
                                                                                                                                          TXU


   TXU             EFH Australia                               EFH Finance         EFH Vermont           EFH           Energy Future        Energy Future                                                                EFH Corporate          NCA
                                            EFH FS                                                                                                               EFH Renewables         Generation      Brighten                                                  LSGT Gas
Receivables           (No. 2)                                    (No. 2)            Insurance         Properties        Competitive         Intermediate                                                                    Services        Development
                                          Holdings Co                                                                                                                 Co LLC           Development     Holdings LLC                                             Company LLC
 Company            Holdings Co                                Holdings Co           Company          Company        Holdings Company     Holdings Company                                                                 Company*         Company LLC
                                             (DE)                                                                         LLC (DE)                                     (DE)             Co LLC (DE)        (DE)                                                     (TX)
   (DE)                (DE)                                       (DE)                 (VT)              (TX)                                  LLC (DE)                                                                       (TX)              (TX)
                                            TUUKH                                                                          TXUHC                                     RNWHC                GNDVP          BRTHC                                                      ENS
  RECCO               AUSH2                                       FIN2                INSUR              TUP                                    EFIHC                                                                         TUS             NCADV
                                                                                                                    Subsidiary detail
                                                                                  10%                                    Page 2
                                                                                                        Basic                                                                                           Brighten            EFH CG            LSGT          EEC Holdings      Humphreys &
                                          TXU Europe
                                                                                                    Resources Inc                                                                                      Energy LLC         Management       SACROC Inc.           Inc            Glascow
                                            Limited                                                                                                                                                                        Co LLC (TX)
                                                                                                        (TX)                                                                                              (DE)                                (TX)              (NV)            Limited
                                              (UK)                                                                                                                                                                           TXUCG
                                                                                                         BRI                   Oncor Electric                                                            BRTEN                                EPD             ECD_EC              (UK)
                                                                                                                                                           EFIH Finance
                                                                                                                                  Delivery
                                                                                                                                                               Inc.
                                                                                                                              Holdings LLC (DE)                                                                            21.5%
                                                                      90%                                                                                      (DE)
                                                                                                                                   OEDHC                                                                                                 5.9%
                                                                                                                                                                                  Outside
                            TXU Eastern                 TXU Eastern                                                                                                                                                   EFH CG Holdings              EECI, Inc.            Ebasco
     TXU Europe                                                               TXU Finance                                                        80.033%               19.75%     Owners
                            Finance (A)                 Finance (B)                                                                                                                                                     Company LP                                     Services of
       CP Inc                                                                (No 2) Limited                                                                                                   19.5%                                                  (NV)              Canada, Ltd
                                Ltd                         Ltd                                                                                                                                                            (TX)
        (DE)                                                                      (UK)                      Oncor License          Oncor             Oncor Electric                                                       CGHLP
                                                                                                                                                                                                                                                     ECD                (Canada)
                               (UK)                        (UK)
                                                                                                                               Communications         Delivery Co
                                                                                                             Holdings Co
                                                                                                                               Holdings Co LLC
                                   50%                                                                           LLC                (DE)                 (DE)
                                                                                                                (DE)              TUCOM                 TRNDS
                            TXU Eastern                                           TXU                                                                                                                                   See page 2
                                                                                                                                                                                              0.217%
                              Funding                       50%               Acquisitions                                                                             Class A                                         for remaining
                             Company                                            Limited                                                                                                                                    53.1%
                                (UK)                                              (UK)                                         Oncor Electric          Oncor Electric            Oncor                                    owners
                                                                                                                                 Delivery            Delivery Transition      Management
                                                                                                                               Administration           Bond Co LLC          Investment LLC
                                                                                                                                   Corp                     (DE)                  (DE)
                                                                                                                                   (TX)                    TRBCO                 ONCMI
                                                                             Other Foreign
                                                                               Entities in
                  Corporation                                                Administration
                                                                                 (UK)                                                                                            Class B

                                                                                                                                                                               Oncor
                  Disregarded entity
                                                                                                                                                                             Management

                  LLC treated as a
                  Partnership


                  Foreign Corp

                                                                                 * EFH Corporate Services Company owns certain name-holding entities not shown here but are shown on Slide 18.
                  Limited
                  Partnership

Legal Entity Simplification Prior to TCEH Spin-Off                                                                                      1 of 20
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                     Corporation
                                                                               Energy Future Competitive Holdings Company and Subsidiaries
                    Disregarded entity
                                                                                                                                           Energy Future
                                                53.1%                                                                                       Competitive
                                                                                                                                          Holding Company
                    Partnership                                                                                                               LLC (DE)
                                                                                                                                               TXUHC

                   See page 1
                  for remaining                              Luminant Energy 22.0%
                                          EFH CG
                      46.9%                                         TCEH LLC 0.3%
                                         Holdings
                     owners             Company LP        Luminant Generation 2.4%
                                                                                                                                         Texas Competitive
                                                                                                                                          Electric Holdings
                                           (TX)             TXU Energy Retail 28.4%                                                           LLC (DE)
                                          CGHLP                                                                                                TXUEN



                                                                                                                                            Luminant                              Comanche                                             TXU Energy               4Change              TXU Energy
                                                                                                                       TCEH                                     Generation
                                            TEX Finance           TEX                TEX                                                     Holding                                                TEX Asset            TEX           Receivables               Energy                Retail
                                                                                               TEX Operations         Finance                                   MT Company        Peak Power
                                               Corp.           Energy LLC       Intermediate                                              Company LLC                                               Company           Preferred       Company LLC              Holdings LLC         Company LLC
                                                                                                Company LLC           Inc (DE)                                   LLC (DE)          Company
                                               (DE)               (DE)          Company LLC                                                   (DE)                                                   LLC (DE)          LLC (DE)           (DE)                     (TX)                 (TX)
                                                                                                    (DE)               TCEH                                       GENMC             LLC (DE)
                                                                                     (DE)                                                     EIVIC                                                                                      RECC2                     SES                 ERLLC


                                                                                                                                                                                                                                                               4Change
                                                                                                                                                                                                                                                                Energy
     Greenway              NCA                 Luminant           Generation             Luminant                                                                        Luminant Big          Big Brown                                                                                TXU Energy
                                                                                                         Sandow Power             Luminant             Big Brown                                                   Valley Power                                Company
    Dev Holding         Resources             Generation             SVC                  Mineral                                                                        Brown Mining          Power Co                                La Frontera                                      Solutions Co
                                                                                                          Company LLC            Mining Co LLC       Lignite Co LLC                                                Company LLC                                   (TX)
   Company LLC         Development           Company LLC           Company             Development                                                                          Co LLC                 LLC                                Holdings, LLC                                         LLC
                                                                                                             (TX)                    (TX)                 (TX)                                                          (TX)                                    SESRP
       (DE)             Co LLC (TX)              (TX)                (TX)               Co LLC (TX)                                                                          (TX)                 (TX)                                                                                      (TX)
                                                                                                            SWDLP                    TUM                 BLGLP                                                        VA4DV
      GDLLC               NCALP                  GEN                GENSV                 MNLLP                                                                             BBMIN                BRNLP                                                                                     ESLLP


                                                                                                                                                                                                                                                                       TXU Retail       TXU SEM
                                                                   Valley NG                                                                                                                                                                                            Services
                      Nuclear Energy            Luminant                                                                          Oak Grove                                                                                                       Oak Grove                             Company
                                                                                        Tradinghouse      Collin Power                                Oak Grove                                Lake Creek 3               Luminant                                     Company
                      Future Holdings          Renewables           Power                                                         Mining Co                                                                                                      Management                               (DE)
                                                                                        Power Co LLC      Company LLC                                Power Co LLC           Forney             Power Co LLC               Energy CO                                       (DE)
                            LLC               Company LLC         Company LLC                                                        LLC                                                                                                         Company LLC                             INSEM
                           (DE)                                                              (TX)              (DE)                                     (TX)             Pipeline, LLC             (TX)                    LLC (TX)                                      RETSV
                                                  (TX)                (TX)                                                          (TX)                                                                                                            (DE)
                          NEFH1                                                            TRHLP             TCLLC                                     OKGDV                                      LC3DV                     TXUET
                                                 RENLP               TVLLC                                                         OGMDV                                                                                                           OKGMC


                       Nuclear Energy
                      Future Holdings II
                             LLC                                                                                                                                                                                                                        Oak Grove
                                                Eagle                                                                      Morgan Creek          Monticello 4                            Tradinghouse           Luminant ET
                            (DE)                                 DeCordova                              Big Brown 3                                                   Martin Lake 4                                               Luminant Energy      Mining Assets
                                              Mountain                             DeCordova II                             7 Power Co            Power Co                               3 & 4 Power             Services Co
                           NEFH2                                Power Co LLC                           Power Co LLC                                                   Power Co LLC                                                 Trading (CA) Co          LLC
                                               Power                               Power Co LLC                                 LLC                 LLC                                     Co LLC                                       (TX)
                                                                    (TX)                                    (TX)                                                          (TX)                                      (TX)
                                             Company LLC                              (DE)                                      (TX)                (TX)                                      (TX)                                     ETCAL
                                                                   DCVLP                                   BB3DV                                                        ML4DV                                      ETRSV
                                                (DE)                                                                          MC7DV                MO4DV                                    TRHDV
                      Comanche Peak
                      Nuclear Power
                       Company LLC
                           (DE)
                         NEPCO




 Legal Entity Simplification Prior to TCEH Spin-Off                                                                                        2 of 20
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                                                                                       T-Side Pre-Emergence Steps (1-2 Weeks Before Emergence)
                                                                                                                                                  Energy Future
                                                                                                                                                  Holdings Corp
   Step 1: Comanche Peak Nuclear Power Company LLC merges with Nuclear                                                                                (TX)                                                                  Corporation
    Energy Future Holdings II LLC [NEFH II] with NEFH II surviving.                                                                                    TXU

   Step 2: NEFH II merges with Nuclear Energy Future Holdings LLC [NEFH]                                                                          Energy Future
                                                                                                                                                    Competitive
    with NEFH surviving.                                                                                                                          Holding Company
                                                                                                                                                         LLC                                                                 Disregarded entity
   Step 3: Luminant Renewables Company LLC merges with Luminant                                                                                        (DE)
                                                                                                                                                       TXUHC
    Generation Company LLC [GEN] with GEN surviving.
                                                                                                                                                 Texas Competitive
   Step 4: Valley NG Power Company LLC merges with GEN with GEN surviving.                                                                       Electric Holdings
   Step 5: Greenway Dev Holding Company LLC merges with NCA Resources                                                                                    LLC
                                                                                                                                                         (DE)
    Development Co LLC with NCA Resources Development Co LLC surviving.                                                                                TXUEN
   Step 6: Luminant Mineral Development Company LLC merges with NCA
    Resources Development Co LLC with NCA Resources Development Co LLC
                                                                                                                      TCEH                 Luminant          Generation          TXU Energy                                                 4Change                TXU Energy
    surviving.                                                                                                       Finance                Holding          MT Company          Receivables                                                 Energy                  Retail
                                                                                                                        Inc              Company LLC              LLC           Company LLC                                                Holdings LLC           Company LLC
                                                                                                                       (DE)                  (DE)                (DE)               (DE)                                                       (TX)                   (TX)
                                                                                                                      TCEH                   EIVIC             GENMC               RECC2                                                       SES                   ERLLC
           Step 5
                                                                                   Step 6                                                                                                                                                    4Change
     Greenway                                                                              Luminant                                                                                      Big Brown                                            Energy
                           NCA                    Luminant                                                                                                            Luminant Big
                                                                   Generation                              Sandow Power         Luminant           Big Brown                                           Valley Power                          Company
    Dev Holding         Resources                Generation                                 Mineral                                                                   Brown Mining       Power Co                          La Frontera                                   TXU Energy
                                                                      SVC                                   Company LLC        Mining Co LLC     Lignite Co LLC                                        Company LLC                             (TX)                      Solutions Co
   Company LLC         Development              Company LLC                              Development                                                                     Co LLC              LLC                          Holdings, LLC
                                                                  Company (TX)                                 (TX)                (TX)               (TX)                                                  (TX)                              SESRP                          LLC
       (DE)             Co LLC (TX)                 (TX)                                  Co LLC (TX)                                                                     (TX)              (TX)
                                                                     GENSV                                    SWDLP                                  BLGLP                                                VA4DV                                                              (TX)
      GDLLC               NCALP                     GEN                                     MNLLP                                  TUM                                   BBMIN             BRNLP                                                                            ESLLP

                                       Step 3                  Step 4
                                                                                                                                                                                                                                                     TXU Retail
                                                                                                                                                                                                                                                                          TXU SEM
                                                  Luminant          Valley NG                                                                                          Oak Grove                                                    Oak Grove         Services
                     Nuclear Energy                                                         Tradinghouse   Collin Power                           Oak Grove                             Lake Creek 3          Luminant                                                    Company
                     Future Holdings             Renewables          Power                                                        Forney                               Mining Co                                                   Management        Company                (DE)
                                                                                            Power Co LLC   Company LLC                           Power Co LLC                           Power Co LLC          Energy CO
                           LLC                  Company LLC        Company LLC                                                 Pipeline, LLC                              LLC                                                      Company LLC          (DE)               INSEM
                                                    (TX)                                         (TX)           (DE)                                (TX)                                    (TX)               LLC (TX)
                          (DE)                                         (TX)                                                                                              (TX)                                                         (DE)             RETSV
                         NEFH1                     RENLP                                       TRHLP          TCLLC                                OKGDV                                   LC3DV                TXUET
          Step 2                                                      TVLLC                                                                                             OGMDV                                                        OKGMC

                     Nuclear Energy
                    Future Holdings II                                                                                                                                                                                                      Oak Grove
                           LLC                      Eagle                                                                      Morgan Creek       Monticello 4                          Tradinghouse                                       Mining Assets
                                                                         DeCordova                          Big Brown 3                                               Martin Lake 4                    Luminant ET
                          (DE)                    Mountain                                  DeCordova II                        7 Power Co         Power Co                             3 & 4 Power                   Luminant Energy           LLC
                         NEFH2                                          Power Co LLC                       Power Co LLC                                               Power Co LLC                      Services Co    Trading (CA) Co
                                                   Power                                    Power Co LLC                            LLC              LLC                                   Co LLC
        Step 1                                                              (TX)                                (TX)                                                      (TX)                             (TX)              (TX)
                                                 Company LLC                                   (DE)                                (TX)              (TX)                                    (TX)
                                                                           DCVLP                               BB3DV              MC7DV                                 ML4DV                             ETRSV            ETCAL
                                                    (DE)                                                                                            MO4DV                                  TRHDV
                    Comanche Peak
                    Nuclear Power
                      Company
                       LLC (DE)
                        NEPCO
                                                        1 Unless otherwise indicated, the merger or liquidation is a nonevent for federal income tax purposes.




 Legal Entity Simplification Prior to TCEH Spin-Off                                                                                      3 of 20
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Confidential                                                          T-Side Pre-Emergence Steps (1-2 Weeks Before Emergence)                                                                                                                            TK DRAFT 09.23.2016

                                                                                                                                                                                                                                                   Corporation
  Step 7: DeCordova Power Company LLC merges with GEN with GEN                                                                   Energy Future
                                                                                                                                   Competitive
   surviving.                                                                                                                    Holding Company
  Step 8: Tradinghouse Power Company LLC merges with GEN with GEN                                                                      LLC
                                                                                                                                       (DE)                                                                                                        Disregarded entity
   surviving.                                                                                                                         TXUHC

  Step 9: Collin Power Company LLC merges with GEN with GEN surviving.
  Step 10: DeCordova II Power Company merges with GEN with GEN                                                                 Texas Competitive
                                                                                                                                 Electric Holdings
   surviving.                                                                                                                            LLC
  Step 11: Eagle Mountain Power Company LLC merges with GEN with GEN                                                                   (DE)
                                                                                                                                      TXUEN
   surviving.
  Step 12: Big Brown 3 Power Co LLC merges with GEN with GEN surviving.
  Step 13: Morgan Creek 7 Power Co LLC merges with GEN with GEN                                              TCEH                   Luminant           Generation                   TXU Energy                                                   4Change                  TXU Energy
                                                                                                             Finance                  Holding           MT Company                   Receivables                                                   Energy                    Retail
   surviving.                                                                                                   Inc                Company LLC               LLC                    Company LLC                                                  Holdings LLC             Company LLC
  Step 14: Monticello 4 Power Co LLC merges with GEN with GEN surviving.                                      (DE)                    (DE)                 (DE)
                                                                                                                                                          GENMC
                                                                                                                                                                                        (DE)                                                         (TX)                     (TX)
                                                                                                              TCEH                     EIVIC                                           RECC2                                                         SES                     ERLLC


                                                                                                                                                                                                                                                   4Change
                              NCA                                                                                                                                                                                                                   Energy
                                                 Luminant                                                                                                        Luminant Big            Big Brown                                                                               TXU Energy
                                                                     Generation          Sandow Power                                         Big Brown                                                      Valley Power                          Company
                           Resources            Generation                                                      Luminant                                         Brown Mining            Power Co                               La Frontera
                                                                        SVC               Company LLC                                       Lignite Co LLC                                                   Company LLC                             (TX)                        Solutions Co
                          Development          Company LLC                                                     Mining Co LLC                                        Co LLC                   LLC                               Holdings, LLC
                                                                    Company (TX)             (TX)                                                (TX)                                                             (TX)                              SESRP                            LLC
                           Co LLC (TX)             (TX)                                                            (TX)                                              (TX)                   (TX)
                                                                       GENSV                SWDLP                                               BLGLP                                                           VA4DV                                                                (TX)
                             NCALP                 GEN                                                             TUM                                              BBMIN                  BRNLP                                                                                    ESLLP

                                                                                                 Step 9
                                              Nuclear Energy
                                              Future Holdings       Step 8                                                                                                                                                                                   TXU Retail           TXU SEM
                                                    LLC
                                                                                                                                                                     Oak Grove                                                    Oak Grove                   Services
                                                                                                                                                                                     Lake Creek 3              Luminant
                                                                                                                                                                                                                                                                                  Company
                                                   (DE)                   Tradinghouse        Collin Power                                   Oak Grove                                                                           Management                  Company
                                                  NEFH1                                                                                                              Mining Co                                                                                                      (DE)
                                                                          Power Co LLC        Company LLC             Forney                Power Co LLC                             Power Co LLC              Energy CO         Company LLC                    (DE)
                                                                                                                                                                        LLC                                                                                                        INSEM
                                                                               (TX)                (DE)            Pipeline, LLC               (TX)                                      (TX)                   LLC (TX)            (DE)                       RETSV
                                  Step 7                                                                                                                               (TX)
                                                                             TRHLP               TCLLC                                        OKGDV                                     LC3DV                    TXUET             OKGMC
                                                                                                                                                                      OGMDV
                                                                Step 10

               Step 11                                                              Step 13                                            Step 14                                                                                            Oak Grove
                                                                                                              Step 12
                                                                                                                               Monticello 4                               Tradinghouse                                                   Mining Assets
                      Eagle                                                  Morgan Creek                                                            Martin Lake 4                                   Luminant ET
                                      DeCordova                                                      Big Brown 3                Power Co                                                                             Luminant Energy          LLC
                    Mountain                           DeCordova II           7 Power Co                                                                                  3 & 4 Power
                                     Power Co LLC                                                   Power Co LLC                                     Power Co LLC                                     Services Co     Trading (CA) Co
                     Power                             Power Co LLC               LLC                                             LLC                                        Co LLC
                                         (TX)                                                            (TX)                     (TX)                   (TX)                                            (TX)               (TX)
                   Company LLC                            (DE)                   (TX)                                                                                          (TX)
                                        DCVLP                                   MC7DV                   BB3DV                    MO4DV                 ML4DV                                            ETRSV             ETCAL
                      (DE)                                                                                                                                                   TRHDV




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Confidential                                                  T-Side Pre-Emergence Steps (1-2 Weeks Before Emergence)                                                                                                                      TK DRAFT 09.23.2016
 Step 15: Martin Lake 4 Power Co LLC merges with GEN with GEN surviving.
 Step 16: Tradinghouse 3 & 4 Power Co LLC merges with GEN with GEN surviving.                                                                                                                                                             Corporation
 Step 17: Oak Grove Mining Co LLC merges with Luminant Mining Co LLC [Luminant                                       Energy Future
  Mining] with Luminant Mining surviving.                                                                              Competitive
                                                                                                                     Holding Company
 Step 18: Lake Creek 3 Power Co LLC merges with GEN with GEN surviving.                                                    LLC
                                                                                                                                                                                                                                           Disregarded entity
 Step 19: Oak Grove Power Co LLC merges with Luminant Mining with Luminant Mining                                         (DE)
                                                                                                                          TXUHC
  surviving.
 Step 20: Big Brown Lignite Co LLC merges with Luminant Mining with Luminant Mining
  surviving.                                                                                                       Texas Competitive
 Step 21: Luminant Big Brown Mining Co LLC merges with Luminant Mining with                                        Electric Holdings
                                                                                                                            LLC
  Luminant Mining surviving.                                                                                               (DE)
 Step 22: Valley Power Company LLC merges with GEN with GEN surviving.                                                  TXUEN
 Step 23: Oak Grove Mining Assets LLC merges with Oak Grove Management Company
  LLC with Oak Grove Management Company LLC surviving.
                                                                                                    TCEH               Luminant             Generation                                                     TXU Energy                4Change                 TXU Energy
                                                                                                   Finance              Holding             MT Company                                                     Receivables                Energy                   Retail
                                                                                                      Inc            Company LLC                 LLC                                                      Company LLC               Holdings LLC            Company LLC
                                                                                                     (DE)                (DE)                   (DE)                                                          (DE)                      (TX)                    (TX)
                                                                                                    TCEH                 EIVIC                GENMC                                                          RECC2                      SES                    ERLLC


                                                                                                                                                                                                                                     4Change
                                                                                                                                                  Step 21
                                                                                                                                                                             Big Brown                                                Energy
                             NCA           Luminant                                                                                                  Luminant Big
                                                                                                                                                                                            Valley Power                                                            TXU Energy
                                                            Generation    Sandow Power              Luminant                      Big Brown          Brown Mining            Power Co                                                Company
                          Resources       Generation                                                                                                                                        Company LLC          La Frontera                                        Solutions Co
                                                               SVC         Company LLC                                          Lignite Co LLC                                                                                         (TX)
                         Development     Company LLC                                               Mining Co LLC                                        Co LLC                   LLC                            Holdings, LLC
                                                           Company (TX)       (TX)                                                   (TX)                                                        (TX)                                 SESRP                             LLC
                          Co LLC (TX)        (TX)                            SWDLP                     (TX)                                                (TX)                 (TX)
                                                              GENSV                                                Step 20          BLGLP                                                      VA4DV                                                                    (TX)
                            NCALP            GEN                                                       TUM                                                BBMIN                BRNLP
                                                                                                                                                                                                                                                                       ESLLP
                                                                                                                                                                                                Step 22
                                                                                                                                                                              Step 18
                                         Nuclear Energy                                                                                 Step 19     Step 17
                                         Future Holdings                                                                                                                                                                                           TXU Retail
                                                                                                                                                                                                                                                                     TXU SEM
                                               LLC
                                                                                                                                                         Oak Grove                                                                                  Services
                                              (DE)                                                  Oak Grove                    Oak Grove                               Lake Creek 3           Luminant                                                             Company
                                                                                                                                                         Mining Co                                                                                 Company
                                             NEFH1                                                 Management                   Power Co LLC                             Power Co LLC           Energy CO              Forney                                          (DE)
                                                                                                                                                            LLC                                                                                       (DE)
                                                                                                   Company LLC                     (TX)                                      (TX)                LLC (TX)           Pipeline, LLC                                     INSEM
                                                                                                                                                           (TX)                                                                                      RETSV
                                                                                                      (DE)                        OKGDV                                     LC3DV                 TXUET
                                                                                                     OKGMC                                                OGMDV
                                                                                         Step 23

                                                                                                                                       Step 15            Step 16
                                                                                                    Oak Grove                                                 Tradinghouse
                                                                                                   Mining Assets                         Martin Lake 4                                   Luminant ET
                                                                                                                                                               3 & 4 Power                                 Luminant Energy
                                                                                                        LLC                              Power Co LLC                                     Services Co       Trading (CA) Co
                                                                                                                                                                  Co LLC
                                                                                                                                             (TX)                                            (TX)                 (TX)
                                                                                                                                                                   (TX)
                                                                                                                                           ML4DV                                            ETRSV               ETCAL
                                                                                                                                                                  TRHDV




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Confidential                               T-Side Pre-Emergence Structure of Energy Future Competitive Holdings Company                                                                                 TK DRAFT 09.23.2016
                                                                          and Subsidiaries
                                                                                                                                                                                                        Corporation

                                                                                                        Energy Future
                                                                                                         Competitive
                                                                                                       Holding Company
                                                                                                              LLC
                                                                                                             (DE)
                                                                                                                                                                                                        Disregarded entity
                                                                                                            TXUHC




                                                                                                      Texas Competitive
                                                                                                       Electric Holdings
                                                                                                               LLC
                                                                                                              (DE)
                                                                                                            TXUEN



                                                                                     TCEH           Luminant             Generation                                                TXU Energy     4Change                 TXU Energy
                                                                                    Finance          Holding             MT Company                                                Receivables     Energy                   Retail
                                                                                       Inc        Company LLC                 LLC                                                 Company LLC    Holdings LLC            Company LLC
                                                                                      (DE)            (DE)                   (DE)                                                     (DE)           (TX)                    (TX)
                                                                                     TCEH             EIVIC                GENMC                                                     RECC2           SES                    ERLLC


                                                                                                                                                                                                  4Change
         NCA          Luminant                                                        Big Brown                                                                                                    Energy
                                       Generation    Sandow Power                                                                               Luminant             Oak Grove                    Company                        TXU Energy
      Resources      Generation                                      Luminant         Power Co                              La Frontera                             Management
                                          SVC         Company LLC                                      Forney                                   Energy CO                                           (TX)                         Solutions Co
     Development    Company LLC                          (TX)
                                                                    Mining Co LLC         LLC                              Holdings, LLC                            Company LLC
                                      Company (TX)                                                  Pipeline, LLC                                LLC (TX)                                          SESRP                             LLC
      Co LLC (TX)       (TX)                            SWDLP           (TX)             (TX)                                                                          (DE)
                                         GENSV                                                                                                    TXUET                                                                              (TX)
        NCALP           GEN                                             TUM             BRNLP                                                                         OKGMC                                                         ESLLP

                    Nuclear Energy
                    Future Holdings                                                                                                                                                                             TXU Retail
                          LLC
                                                                                                                                                                                                                                  TXU SEM
                                                                                                                                      Luminant ET                                                                Services
                         (DE)                                                                                                                         Luminant Energy                                                             Company
                                                                                                                                       Services Co                                                              Company
                        NEFH1                                                                                                                          Trading (CA) Co                                                              (DE)
                                                                                                                                          (TX)                                                                     (DE)
                                                                                                                                                             (TX)                                                                  INSEM
                                                                                                                                                                                                                  RETSV
                                                                                                                                         ETRSV             ETCAL




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Confidential                                                                                         T-Side Emergence Steps                                                                                                                   TK DRAFT 09.26.2016

                                                                                                                                                                                                                                              Corporation
 Step 24: Luminant ET Services Co converts to an LLC. [Notice to PUCT required for REP
  license.]
 Step 25: TXU Energy Receivables Company LLC dissolves.
 Step 26: 4Change Energy Company converts to an LLC. [Notice to PUCT required for                                                                                                                                                            Disregarded entity
  REP license.]
 Step 27: TXU SEM Company merges with and into Generation SVC Company.
 Step 28: TXU Energy Solutions Company LLC merges with TXUE with TXUE surviving.                                 Energy Future
 Step 29: TCEH Finance Inc. dissolves.                                                                            Competitive
                                                                                                                 Holding Company
 Step 30: NEFH merges with and into GEN with GEN surviving.                                                            LLC
                                                                                                                       (DE)
 Step 31: TXUE distributes stock of TXU Retail Services Company to TCEH.                                             TXUHC




                                                                                                             Texas Competitive
                                                                                                              Electric Holdings
                                                                                                                      LLC
                                                                                                                     (DE)
                                                                                                                   TXUEN                                                                                                                        Step 31
                                                                                  Step 29                                                                                                     Step 25
                                                                                            TCEH                   Luminant           Generation                                                       TXU Energy           4Change                 TXU Energy
                                                                                           Finance                  Holding           MT Company                                                       Receivables           Energy                   Retail
                                                                                              Inc                Company LLC               LLC                                                        Company LLC          Holdings LLC            Company LLC
                                                                                             (DE)                    (DE)                 (DE)                                                            (DE)                 (TX)                    (TX)
                                                                                            TCEH                     EIVIC              GENMC                                                            RECC2                 SES                    ERLLC
                                                                                                                                                                                                                                                                 Step 28
                                                                                                                                                                                                                            4Change
                                                                                                     Big Brown                                                                                  NCA                          Energy
                            Luminant                                                                                                                                   Luminant                                  Step 26                                    TXU Energy
                                             Generation    Sandow Power                              Power Co                   Forney           La Frontera                                 Resources                      Company
                           Generation                                       Luminant                                                                                                                                                                        Solutions Co
                                                SVC         Company LLC                                                                                                Energy CO                                              (TX)
                          Company LLC                                      Mining Co LLC                 LLC                 Pipeline, LLC      Holdings, LLC                               Development
                                            Company (TX)       (TX)                                                                                                     LLC (TX)                                             SESRP                              LLC
                              (TX)                            SWDLP            (TX)                     (TX)                                                                                 Co LLC (TX)
                                               GENSV                                                                                                                     TXUET                                                                                  (TX)
                              GEN                                              TUM                     BRNLP                                                                                   NCALP
                                                                                                                                                                                                                                                               ESLLP
                      Step 30
                          Nuclear Energy
                          Future Holdings                                                                                                                                                                                                 TXU Retail
                                                                                                                                                                                                                                                             TXU SEM
                                LLC
                                                                                                                                                                Luminant ET                                                                Services
                               (DE)                                                         Oak Grove                                                                              Luminant Energy                                                           Company
                                                                                                                                                                                                                                          Company
                              NEFH1                                                        Management                                            Step 24         Services Co        Trading (CA) Co                                                            (DE)
                                                                                                                                                                                                                                             (DE)
                                                                                           Company LLC                                                              (TX)                  (TX)                                                                INSEM
                                                                                                                                                                                                                                            RETSV
                                                                                              (DE)                                                                 ETRSV                ETCAL
                                                                                             OKGMC
                                                                                                                                                                                                                                                       Step 27




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                                                                                                                                                                                                                                            Disregarded entity
     Step 32: 4Change Energy Holdings LLC merges with and into                                             Energy Future
      4Change Energy Company LLC with 4Change Energy Company LLC                                            Holdings Corp
      surviving.                                                                                                 (TX)                                                                                                                       Corporation
     Step 33: Generation MT Company LLC merges with and into EFH                                                TXU
      Corporate Services Company [EFH Corporate Services] with EFH
      Corporate Services surviving.                                                                   Step 34
     Step 34: Energy Future Holdings Corp [EFH] contributes the stock of
      EFH Corporate Services to Energy Future Competitive Holdings
      Company [EFCH].                                                                                            Energy Future                                                                          NCA            EFH Corporate
                                                                                                                                                           Generation          Brighten
     Step 35: EFCH contributes the stock of EFH Corporate Services to                                            Competitive         EFH Renewables
                                                                                                                                                                              Holdings LLC
                                                                                                                                                                                                    Development           Services
                                                                                                                Holding Company            Co LLC         Development                               Company LLC          Company*
      Texas Competitive Electric Holdings LLC [TCEH].                                                                  LLC                  (DE)           Co LLC (DE)            (DE)
                                                                                                                      (DE)                                                                              (TX)                (TX)
                                                                                                                                          RNWHC              GNDVP              BRTHC                                       TUS
                                                                                                                     TXUHC                                                                            NCADV
                                                                                                      Step 35

                                                                                                           Texas Competitive                                                    Brighten
                                                                                                                                                                                                                          EFH CG
                                                                                                            Electric Holdings                                                  Energy LLC
                                                                                                                                                                                                                        Management
                                                                                                                    LLC                                                           (DE)                                   Co LLC (TX)
                                                                                                                   (DE)                                                          BRTEN                                     TXUCG
                                                                                                                 TXUEN



                                                                                                                         Step 33

                                                                                         Luminant               Generation             TXU Energy         TXU Retail                                            4Change
                                                                                          Holding               MT Company               Retail            Services                                              Energy
                                                                                       Company LLC                   LLC              Company LLC         Company                                           Holdings LLC (TX)
                                                                                           (DE)                     (DE)                  (TX)               (DE)                                                 SES
                                                                                           EIVIC                  GENMC                  ERLLC              RETSV                                                                 Step 32


                                                                                                                                                                                                                4Change
                                                                                                                                                                                                                 Energy
            NCA                              Luminant                                                      Oak Grove                                   Big Brown
                           Generation                             Luminant                                                         Sandow Power                                                               Company LLC
         Resources                          Generation                                 Luminant           Management                                   Power Co          La Frontera
                              SVC                                 Energy CO                                                         Company LLC                                                Forney            SESRP
        Development                        Company LLC                                Mining Co LLC       Company LLC                                      LLC            Holdings,
                          Company (TX)                             LLC (TX)                                                            (TX)                                                 Pipeline, LLC
         Co LLC (TX)                           (TX)                                       (TX)               (DE)                     SWDLP               (TX)               LLC
                             GENSV                                  TXUET
           NCALP                               GEN                                        TUM               OKGMC                                        BRNLP




                                                   Luminant ET          Luminant Energy
                                                   Services LLC          Trading (CA) Co
                                                       (TX)                    (TX)
                                                      ETRSV                  ETCAL



                            * EFH Corporate Services Company owns certain name-holding entities that are not shown here.



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Confidential                                                                                                                                                                                                                                               TK DRAFT 09.23.2016
                                                                                                              T-Side Emergence Steps
 Step 36: EFH CG Holdings Company LP makes a distribution of
  certain assets to Oncor Electric Delivery Co LLC.
 Step 37: TCEH buys 19.5% limited partnership interest held by
  Oncor Electric Delivery Co LLC for $72,735. LSGT Gas Company
  LLC transfers its 5.9% interest to TCEH pursuant to the Plan.                                                                                Energy Future
 Step 38: EFH CG Management Co LLC merges with and into EFH                                                                                   Holdings Corp
  Corporate Services with EFH Corporate Services surviving.                                                                                         (TX)
                                                                                                                                                    TXU
 Step 39: TXUE distributes its 28.4% member interest in EFH CG
  Holdings Company LP to TCEH.
 Step 40: TCEH contributes the 28.4% member interests and its
  25.7% member interest in EFH CG Holdings Company LP to EFH                         Energy Future        EFH Renewables                  Generation
                                                                                                                                                                                                           Energy Future                   NCA
                                                                                                                                                                                                                                                          Brighten
                                                                                                                                                                              LSGT Gas                      Competitive
  Corporate Services.                                                                Intermediate                                        Development                                                                                   Development
                                                                                                               Co LLC                                                       Company LLC                   Holding Company                                Holdings LLC
                                                                                   Holdings Company                                                                                                                                    Company LLC
 Step 41: GEN distributes its 2.4% interest in EFH CG Holdings                           (DE)
                                                                                                                (DE)                      Co LLC (DE)                           (TX)                             LLC
                                                                                                                                                                                                                (DE)                       (TX)
                                                                                                                                                                                                                                                             (DE)
                                                                                                              RNWHC                         GNDVP                               ENS                                                                        BRTHC
  Company LP and LUME distributes its 22% interest in EFH CG                             EFIHC                                                                                                                 TXUHC                     NCADV
  Holdings Company LP to EFH Corporate Services.
 Step 42: EFH CG Holdings Company LP merges with and into EFH                                                                                                                         Step 37
  Corporate Services with EFH Corporate Services surviving.                                                                               Step 37                                                                                                          Brighten
                                                                                                                                                                                                          Texas Competitive                               Energy LLC
                                                                                                                                                                                                           Electric Holdings
                                                                                                                                                                                                                                                             (DE)
                                                                                                                                                                             5.9%                                  LLC
                                                                                                 EFIH Finance                                                                                                     (DE)                                      BRTEN
                                                                         Oncor Electric
                                                                                                     Inc.                                                                                                       TXUEN
                                                                            Delivery
                                                                                                     (DE)
                                                                        Holdings LLC (DE)
                                                                             OEDHC                                       Outside
                                                                                                                         Owners                                                                                                Step 39                Step 40
                                                                                       80.033%            19.75%                                 EFH CG                                       0.3%
                                                                                                                                   Step 36      Holdings
                                                                                                                                               Company LP               22.0%
                                                        Oncor License        Oncor           Oncor Electric                                       (TX)
                                                                         Communications
                                                         Holdings Co                          Delivery Co                     19.5%              CGHLP
                                                                         Holdings Co LLC
                                                             LLC              (DE)               (DE)
                                                                                                TRNDS                                                                                                        Luminant             TXU Energy
                                                            (DE)            TUCOM                                                                                                                                                                    EFH Corporate      TXU Retail
                                                                                                                                                                                                              Holding               Retail
                                                                                                                                                                                       4Change Energy                                                   Services         Services
                                                                                                                                                                                                             Company             Company LLC
                                                                                                              Class A                 0.217%                                            Company LLC                                                    Company*         Company
                                                                                                                                                                                                               LLC*                  (TX)
                                                                                                                                                                                            (TX)                                                          (TX)             (DE)
                                                                                                                                                                                                               (DE)                 ERLLC
                                                                                                                                                                                           SESRP                                                          TUS             RETSV
                                                                                              Oncor Electric                Oncor                              Step 42                                         EIVIC
                                                                         Oncor Electric       Oncor Electric
                                                                                            Delivery Transition          Management                                                                                            28.4%
                                                                           Delivery         Delivery Transition
                       Corporation                                       Administration
                                                                                               Bond Co LLC              Investment LLC
                                                                                               Bond Co LLC                   (DE)                                                                                                                                        Step 38
                                                                                                   (DE)                                                     2.4%                                                                                          EFH CG
                                                                           Corp (TX)               (DE)
                                                                                                  TRBCO                     ONCMI                                                                                                                       Management
                                                                                                                                                                                                                                                         Co LLC (TX)
                      Disregarded entity                                                                                                                      Luminant                                                      Step 41                        TXUCG
                                                                                                                                                                                  Luminant
                                                                                                                           Class B                           Generation           Energy CO
                                                                                                                                                            Company LLC            LLC (TX)
                      Partnership                                                                                         Oncor                                 (TX)                TXUET
                                                                                                                        Management                              GEN                                                                          21.5%
 * EFH Corporate Services Company owns certain name-holding entities that are not shown here , and LUM Holding owns certain

 subsidiaries not shown here (LUM Mining Co, Oak Grove Management Company LLC, Sandow Power Company, LLC, La Frontera Holdings,                                    Luminant ET         Luminant Energy
 Forney Pipeline, LLC, Big Brown Power Co, Generation SVC Company, NCA Resources Development Co LLC).
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                                                                                                                                                                       (TX)
                                                                                                                                                                                        Trading (CA) Co
                                                                                                                                                                                              (TX)
                                                                                                                                                                      ETRSV                 ETCAL
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 Confidential                                                                                                     T-Side Emergence Steps                                                                                                                         TK DRAFT 09.23.2016
  Step 43: EFH Properties Company distributes cash on hand to EFH per Bankruptcy Plan.
  Step 44: EFH contributes EFH Properties Company and Brighten Holdings LLC to EFCH, which contributes EFH Properties Company and                                                                                                                                           Corporation
   Brighten Holdings LLC to TCEH.
                                                                                                                                                                                                                                                                            Disregarded entity


                                                                                                                                                                                                                                                                            Partnership



                                                                                                                                                                                                                                                                             Foreign Corp
 * EFH Corporate Services Company owns certain name-holding entities that are not shown here, and LUM Holding owns certain
 subsidiaries not shown on this slide.


                                                                                                                              Energy Future
                                                                                                                              Holdings Corp
                                                                                                                                   (TX)
                                                                                                                                   TXU

                                                                                                                                                                                                                                                             Step 44

                                                                                                                    Step 43
          TXU             EFH Australia                              EFH Finance          EFH Vermont           EFH             Energy Future            NCA                    EFH
                                                   EFH FS                                                                                                                                                 LSGT Gas           Generation         Energy Future              Brighten
       Receivables           (No. 2)                                   (No. 2)             Insurance         Properties         Intermediate         Development            Renewables                                                           Competitive
                                                 Holdings Co                                                                                                                                            Company LLC         Development                                   Holdings LLC
        Company            Holdings Co                               Holdings Co            Company          Company          Holdings Company       Company LLC               Co LLC                                                          Holding Company
                                                    (DE)                                                                                                                                                    (TX)             Co LLC (DE)           LLC (DE)                   (DE)
          (DE)                (DE)                                      (DE)                  (VT)              (TX)                 (DE)                (TX)                   (DE)
                                                   TUUKH                                                                                                                                                    ENS                GNDVP                TXUHC                   BRTHC
         RECCO               AUSH2                                      FIN2                 INSUR              TUP                 EFIHC              NCADV                  RNWHC


                                                                                                                                                                                                                                                                           Brighten
                                                                                                                               Oncor Electric                                           LSGT             EEC Holdings      Humphreys &        Texas Competitive
                                                 TXU Europe                                                    Basic                                  EFIH Finance                                                                                                        Energy LLC
                                                                                            10%                                   Delivery                                           SACROC Inc.              Inc            Glascow           Electric Holdings
                                                   Limited                                                 Resources Inc                                  Inc.                                                                                                               (DE)
                                                                                                                              Holdings LLC DE)                                          (TX)                 (NV)            Limited               LLC (DE)
                                                     (UK)                                                      (TX)                                       (DE)                                                                                                              BRTEN
                                                                                                                                  OEDHC                                                 EDP                ECD_EC              (UK)                 TXUEN
                                                                                                                BRI

                                                                                   90%                                                                        80.033%


                                                                                                           Oncor License           Oncor          Oncor Electric                                                      Ebasco
                                   TXU Eastern                 TXU Eastern                                                     Communications                                                   EECI, Inc.
             TXU Europe                                                              TXU Finance            Holdings Co                            Delivery Co                                                      Services of
                                   Finance (A)                 Finance (B)                                                     Holdings Co LLC                                                    (NV)              Canada, Ltd
               CP Inc                                                               (No 2) Limited              LLC                 (DE)              (DE)
                                       Ltd                         Ltd                                                                                                                            ECD
                (DE)                                                                     (UK)                  (DE)               TUCOM              TRNDS                                                           (Canada)
                                      (UK)                        (UK)

                                            50%                                                                                                                        0.217%
                                                                                                                                                                                     Class A
                                                                                        TXU
                                   TXU Eastern                 50%                                                             Oncor Electric      Oncor Electric             Oncor
                                                                                    Acquisitions                                                   OncorTransition
                                                                                                                                                           Electric                                        Luminant         TXU Energy                             EFH Corporate         TXU Retail
                                     Funding                                                                                     Delivery        Delivery                  Management                                                      4Change Energy
                                                                                      Limited                                  Administration
                                                                                                                                                 Delivery Transition
                                                                                                                                                    Bond Co   LLC         Investment LLC                    Holding           Retail                                  Services            Services
                                    Company                                                                                                          Bond  Co LLC
                                                                                                                                                                                                                                            Company LLC
                                                                                        (UK)                                       Corp                 (DE)                   (DE)                      Company LLC*      Company LLC                               Company*            Company
                                       (UK)                                                                                                              (DE)                                                (DE)                               (TX)
                                                                                                                                   (TX)                TRBCO                  ONCMI                                            (TX)                                     (TX)                (DE)
                                                                                                                                                                                                             EIVIC                             SESRP
                                                                                                                                                                                                                              ERLLC                                     TUS                RETSV

                                                                                   Other Foreign                                                                        Class B
                                                                                     Entities in                                                                                                         Generation
                                                                                   Administration
                                                                                       (UK)
                                                                                                                                        10 of 20                     Oncor
                                                                                                                                                                                                            SVC
                                                                                                                                                                                                        Company (TX)
                                                                                                                                                                   Management
Legal Entity Simplification Prior to TCEH Spin-Off                                                                                                                                                         GENSV
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                                                                                                                                                                                                             Disregarded entity
     Step 45: LUM Holding distributes LUME, Luminant Mining Co LLC,
      Oak Grove Management Company LLC, Generation SVC Company, La
      Frontera Holdings, LLC, Forney Pipeline, LLC, Big Brown Power Co,                                  Energy Future                                                                                       Corporation
      Sandow Power Company LLC, NCA Resources Development Co LLC                                         Holdings Corp
      and GEN to TCEH.                                                                                        (TX)
                                                                                                              TXU



                                                                                                           Energy Future
                                                                                                            Competitive
                                                                                                          Holding Company
                                                                                                                 LLC
                                                                                                                (DE)
                                                                                                               TXUHC




                                                                                                        Texas Competitive
                                                                                                         Electric Holdings
                                                                                                                 LLC
                                                                                                                (DE)
                                                                                                              TXUEN
                                                                                 Step 45



                                                                                         Luminant          TXU Energy           TXU Retail                   EFH Corporate                       EFH
                                                                                                                                               4Change                           Brighten                     Brighten
                                                                                          Holding            Retail              Services                       Services                      Properties
                                                                                                                                                Energy                          Energy LLC                   Holdings LLC
                                                                                       Company LLC        Company LLC           Company                        Company*                       Company
                                                                                                                                             Company LLC                           (DE)                          (DE)
                                                                                           (DE)               (TX)                 (DE)                           (TX)                           (TX)
                                                                                                                                                SESRP                             BRTEN                        BRTHC
                                                                                           EIVIC             ERLLC                RETSV                           TUS                            TUP



                                                                                                                                                                                                 Basic         Brighten
            NCA                               Luminant                                                   Oak Grove                           Big Brown                                       Resources Inc    Energy LLC
                           Generation                              Luminant                                                  Sandow Power
         Resources                           Generation                                 Luminant        Management                           Power Co                                            (TX)            (DE)
                              SVC                                  Energy CO                                                  Company LLC                   La Frontera         Forney
        Development                         Company LLC                                Mining Co LLC    Company LLC                              LLC                                              BRI           BRTEN
                          Company (TX)                              LLC (TX)                                                     (TX)                      Holdings, LLC     Pipeline ,LLC
         Co LLC (TX)                            (TX)                                       (TX)            (DE)                 SWDLP           (TX)
                             GENSV                                   TXUET
           NCALP                                GEN                                        TUM            OKGMC                                BRNLP




                                                    Luminant ET          Luminant Energy
                                                    Services LLC          Trading (CA) Co
                                                        (TX)                    (TX)
                                                       ETRSV                  ETCAL



                             * EFH Corporate Services Company owns certain name-holding entities that are not shown here.



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                                                                                                                   T-Side Emergence Steps                                                                                                       Corporation
 Step 46: Basic Resources Inc. merges with and into TXU Retail Services
  Company with TXU Retail Services Company surviving.
 Step 47: LUM Holding merges with and into GEN with GEN surviving.                                                                                                                                                                             Disregarded entity
 Step 48: TCEH contributes Comanche Peak Power Company LLC [Comanche
  Peak LLC] to GEN.
                                                                                                                                                                                                                                                Partnership
 Step 49: GEN contributes Comanche Peak (and the decommissioning liability)
  to Comanche Peak LLC.                                                                                                             Energy Future
 Step 50: GEN distributes interest in Comanche Peak LLC to TCEH.                                                                    Competitive
                                                                                                                                   Holding Company
 Step 51: Brighten Holdings LLC merges with and into Brighten Energy LLC with                                                            LLC
                                                                                                                                         (DE)
  Brighten Energy LLC surviving.                                                                                                        TXUHC




                                                                                                                                  Texas Competitive
                                                                                                                                   Electric Holdings
                                                                                                                                           LLC
                                                                                                                                          (DE)
                                                                                                                                        TXUEN

                                                                                                                        Step 50            Step 48

                                 NCA                                         Big Brown               Luminant        TXU Energy
                                                       Brighten              Power Co                                                                                                                       TEX
                              Resources                                                               Holding          Retail                                                            TEX Energy                       TEX       TEX Asset
                                                      Holdings LLC               LLC                                                             La Frontera           Forney                          Intermediate
                             Development                                                           Company LLC      Company LLC                                                                                        Operations
                                                          (DE)                                                                                  Holdings, LLC       Pipeline, LLC            LLC       Company LLC                  Company
                              Co LLC (TX)                                       (TX)                   (DE)             (TX)                                                                                          Company LLC
                                NCALP
                                                        BRTHC                  BRNLP                                                                                                        (DE)            (DE)         (DE)        LLC (DE)
                                                                                                       EIVIC           ERLLC
                                            Step 51
                                                                                         Step 47
                                                       Brighten
                                                      Energy LLC
                                                                                                     Luminant                                    Luminant            Oak Grove           TEX Finance
                                                         (DE)               Sandow Power                             4Change Energy                                                                        TEX
                                                                             Company LLC
                                                                                                    Generation                                  Mining Co LLC       Management              Corp.
                                                        BRTEN                                                         Company LLC
                                                                                (TX)               Company LLC                                      (TX)            Company LLC                         Preferred
                                                                                                                          (TX)                                                              (DE)
                                                                               SWDLP                   (TX)
                                                                                                                         SESRP                      TUM                (DE)                              LLC (DE)
                                                                                                       GEN                                                            OKGMC

                                                                                                         Step 49
                                                                                                                    TXU Retail                EFH               EFH Corporate
                                                                          Luminant              Comanche                                   Properties              Services
                                                                                                                                                                                     Generation
                                                                                                                     Services
                                                                          Energy CO             Peak Power                                 Company                Company*              SVC
                                                                                                                    Company
                                                                           LLC (TX)            Company LLC                                    (TX)                   (TX)           Company (TX)
                                                                                                                       (DE)
                                                                            TXUET                                                             TUP                    TUS               GENSV
                                                                                                                      RETSV


                                                                                                                                              Basic
                                                                                                                    Step 46               Resources Inc
                                                           Luminant ET          Luminant Energy                                               (TX)
                                                           Services LLC          Trading (CA) Co                                               BRI
                                                               (TX)                    (TX)
                                                              ETRSV                  ETCAL

  * EFH Corporate Services Company owns certain name-holding entities that are not shown here.


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                                                                                                             T-Side Emergence Steps                                                                                                                        Corporation
                                                                                                                                                         Energy Future
                                                                                                                                                         Holdings Corp
Busted 351 Transaction/Contribution in Spin-Off:                                                                                                              (TX)                                                                                         Disregarded entity
                                                                                                                                                              TXU
 Step 52: TCEH transfers certain T-side assets (“T Assets”) and La Frontera
  Holdings, LLC, Forney Pipeline, LLC, Generation SVC Company, TXU Retail                                                                                                                                                                                    Partnership
                                                                                                                                                             Energy Future
  Services Company, Big Brown Power Co, TXUE, LUME, Brighten Energy LLC,                                                                                      Competitive
  Comanche Peak LLC, Sandow Power Company LLC [Sandow Power], GEN,                                                                                         Holding Company
                                                                                                                                                                 LLC**
  4Change Energy Company LLC, Luminant Mining Co, Oak Grove                                                                                                       (DE)
  Management, EFH Properties Company, EFH Corporate Services, NCA                                                                                               TXUHC

  Resources Development Co LLC, TEX Intermediate Company LLC
  [Intermediate Co], TEX Operations Company, LLC [Opco], TEX Finance Corp.,
                                                                                                                                                         Texas Competitive
  TEX Asset Company LLC [AssetCo], and TEX Preferred [Prefco] to TEX Energy                                                                               Electric Holdings              Step 52                                  TEX Energy    Step 58
  LLC.                                                                                                                                                          LLC**                                                                 LLC
                                                                                                                                                                 (DE)
 Step 53: Reorganized TCEH transfers the T Assets, La Frontera Holdings, LLC,                                                                                 TXUEN                                                                 (DE)
  Forney Pipeline, LLC, Generation SVC Company, TXU Retail Services
  Company, Big Brown Power Co, TXUE, LUME, Brighten Energy LLC,                                                                                                                                                            Step 53
  Comanche Peak LLC, Sandow Power, GEN, 4Change Energy Company LLC,
  Luminant Mining Co, Oak Grove Management, EFH Properties Company,                                                        Big Brown                                                                                                  TEX
                                                                                                                                                                        TXU Energy                                NCA
                                                                                                                                                 TXU Retail                                  Brighten                            Intermediate
  EFH Corporate Services, NCA Resources Development Co LLC, Opco, TEX            Forney Pipeline,      La Frontera         Power Co                                         Retail                             Resources
                                                                                                                                                  Services                                  Energy LLC                           Company LLC
                                                                                      LLC             Holdings, LLC            LLC                                     Company LLC                            Development
  Finance Corp., AssetCo, and Prefco to Intermediate Co.                                                                                       Company (DE)                                    (DE)                                   (DE)
                                                                                                                              (TX)                                           (TX)                              Co LLC (TX)
 Step 54: Intermediate Co transfers the T Assets, La Frontera Holdings, LLC,                                                BRNLP
                                                                                                                                                   RETSV
                                                                                                                                                                           ERLLC
                                                                                                                                                                                              BRTEN
                                                                                                                                                                                                                 NCALP
  Forney Pipeline LLC, Generation SVC Company, TXU Retail Services                                                                                                                                                       Step 54                                       Third Party
  Company, Big Brown Power Co, Sandow Power, GEN, Luminant Mining Co,                                                                                                                                                                                                   Investors
  Oak Grove Management, TXUE, 4Change Energy Company LLC, LUME,                                                                                                                                                                        TEX
                                                                                                                       Luminant                                                                 Oak Grove                          Operations
  Brighten Energy LLC, Comanche Peak LLC, EFH Properties Company, EFH                          Sandow Power                                 4Change Energy                 Luminant                                              Company LLC                  Step 57
                                                                                                                      Generation                                                              Management
  Corporate Services, NCA Resources Development Co LLC, TEX Finance Corp.,                      Company LLC
                                                                                                                     Company LLC
                                                                                                                                              Company LLC                Mining Co LLC
                                                                                                                                                                                              Company LLC                             (DE)
  AssetCo, and Prefco to Opco.                                                                      (TX)                                           (TX)                        (TX)
                                                                                                  SWDLP                  (TX)                                                  TUM                 (DE)
                                                                                                                                                  SESRP
 Step 55: Opco transfers La Frontera Holdings, LLC, Forney Pipeline, LLC,                                               GEN                                                                     OKGMC                               Step 55
  Generation SVC Company, TXU Retail Services Company, Big Brown Power                                                                                                                                              TEX Finance               TEX Asset
  Co, Sandow Power, GEN, Luminant Mining Co, Oak Grove Management,                                                                                                                                                      Corp.                 Company
  TXUE, 4Change Energy Company LLC, Brighten Energy LLC, Comanche Peak                                                                                                           EFH            EFH Corporate           (DE)
                                                                                                     Generation           Luminant                                                                 Services
                                                                                                                                                                                                                                               LLC (DE)
                                                                                                                                                   Comanche                   Properties
  LLC, NCA Resources Development Co LLC, and Prefco to AssetCo.                                          SVC              Energy CO                                                               Company*
                                                                                                                                                  Peak Power                  Company
 Step 56: (a) Prefco converts to a corporation; and (b) after Prefco converts                     Company (TX)            LLC (TX)
                                                                                                                                                 Company LLC                     (TX)                (TX)                                            Step 56
  to a corporation, AssetCo contributes 4Change Energy Company LLC,                                    GENSV                TXUET                                                TUP                 TUS
  Brighten Energy LLC, Comanche Peak LLC, and TXUE to Prefco. [Confirm                                                                                                                                                                           TEX
  Brighten Energy LLC does not have any built-in loss assets.]                                                                                                                                                                                Preferred
 Step 57: AssetCo sells Prefco preferred stock to third-party investors                                                                                                                                                                         (DE)
  pursuant to pre-existing binding commitments and distributes the proceeds                                  Luminant ET          Luminant Energy
                                                                                                             Services LLC          Trading (CA) Co
  of the Prefco preferred stock sale to TCEH.                                                                    (TX)                    (TX)
 Step 58: TEX Energy LLC converts to a corporation, and changes its name to                                    ETRSV                  ETCAL                                                     **TCEH and EFCH remain outstanding as subsidiaries of
  TCEH Corp.
                                                                                                                                                                                                 EFH and will be dissolved at E-Side Emergence.
 Step 59: Interests in TCEH Corp. distributed to 1st Lien Creditors of TCEH in
  accordance with the Plan.                                               * EFH Corporate Services Company owns certain name-holding entities that are not shown here.
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                                    Energy Future Holdings Corp and Select Subsidiaries after Step 59 (Before TCEH Spin-Off)
                                                                                                                                                                                                                                                                         Corporation
                                                                                                                         Energy Future
                                                                                                                         Holdings Corp
                                                                                                                              (TX)                                                                                                                                       Disregarded entity
                                                                                                                              TXU

                                                                                                                                                                                                                                                                         Partnership


                               EFH Vermont          Energy Future                TXU                    EFH Australia                            EFH Finance                            Energy Future              NCA                EFH
           LSGT Gas                                                                                                            EFH FS                              Generation            Competitive           Development        Renewables                         Foreign Corp
                                Insurance           Intermediate              Receivables                  (No. 2)                                 (No. 2)                             Holding Company
         Company LLC                                                                                                         Holdings Co                          Development                                  Company LLC           Co LLC
                                 Company          Holdings Company             Company                   Holdings Co                             Holdings Co                                  LLC
             (TX)                                                                                                               (DE)                               Co LLC (DE)                                     (TX)               (DE)
                                   (VT)                  (DE)                    (DE)                       (DE)                                    (DE)                                     (DE)
             ENS                                        EFIHC                                                                  TUUKH                                 GNDVP                  TXUHC                NCADV              RNWHC
                                  INSUR                                         RECCO                      AUSH2                                    FIN2


                                                                                                                             TXU Europe                                               Texas Competitive
                                   Humphreys       Oncor Electric                                                                                                                      Electric Holdings
   LSGT         EEC Holdings                                             EFIH Finance                                          Limited
                                       &              Delivery                                                                                                                                 LLC
SACROC Inc.          Inc                                                     Inc.                                                (UK)
                                    Glascow       Holdings LLC (DE)                                                                                                          10%              (DE)
   (TX)             (NV)                                                     (DE)                                                                                90%                        TXUEN
                                    Limited            OEDHC
   EDP            ECD_EC              (UK)
                                                                                   80.033%
                                                                                                                          TXU Eastern          TXU Eastern                              TCEH Corp.
                                                                                                      TXU Europe                                                   TXU Finance
                                                                                                                          Finance (A)          Finance (B)        (No 2) Limited
                                                                                                                                                                                           (DE)
  Ebasco                          Oncor License         Oncor          Oncor Electric                   CP Inc
                 EECI, Inc.                                                                                                   Ltd                  Ltd                 (UK)
Services of                        Holdings Co      Communications
                                                                        Delivery Co                      (DE)
                   (NV)                             Holdings Co LLC                                                          (UK)                 (UK)
Canada, Ltd                            LLC               (DE)              (DE)
 (Canada)          ECD                (DE)             TUCOM              TRNDS                                                 50%                                                          TEX
                                                                                                                                                                       TXU              Intermediate
                                                                                                                          TXU Eastern                              Acquisitions
                                                                                        Class A                0.217%                        50%                                        Company LLC
                                                                                                                            Funding                                  Limited                 (DE)
                                                                                                                           Company                                     (UK)
                                                    Oncor Electric                                    Oncor                   (UK)
                                                                        Oncor Electric
                                                      Delivery          Oncor Electric             Management                                                                               TEX
                                                                      Delivery Transition                                                                          Other Foreign
                                                                      Delivery Transition         Investment LLC                                                                         Operations
                                                    Administration       Bond Co LLC                                                                                 Entities in
                                                        Corp              Bond Co LLC                  (DE)                                                                             Company LLC
                                                                             (DE)                                                                                  Administration
                                                        (TX)                  (DE)                    ONCMI
                                                                            TRBCO                                                                                      (UK)                (DE)


                                                                                                     Class B                EFH             EFH Corporate
                                                                                                                         Properties            Services           TEX                Luminant                                                                   Third Party
                                                                                                                                                                                                                 TEX Asset
                                                                                                                         Company                                                     Energy CO
                                                                                                    Oncor                                     Company*          Finance                                        Company LLC                                       Investors
                                                                                                                            (TX)                 (TX)                                LLC (TX)*
                                                                                                  Management                                                   Corp. (DE)                                          (DE)
                                                                                                                            TUP                  TUS                                   TXUET
                                                                                                                                                                                                                                                                             100% Preferred Stock
                                                                                                                                                                                                                                       100% Common Stock
                  NCA                                                                                                   Big Brown                                                                            Luminant
                                  TXU Retail                                                       Generation                                Luminant           Oak Grove
               Resources                           La Frontera             Forney                                       Power Co              Mining           Management
                                                                                                                                                                                    Sandow Power            Generation          TEX
                                   Services                                                       SVC Company                                                                        Company LLC
              Development                         Holdings, LLC                                                             LLC               Co LLC           Company LLC                                 Company LLC       Preferred
                                 Company (DE)                           Pipeline, LLC                 (TX)                                                                              (TX)
               Co LLC (TX)                                                                                                 (TX)                (TX)               (DE)                                         (TX)
                 NCALP
                                    RETSV
                                                                                                     GENSV                                     TUM                                     SWDLP                                   (DE)
                                                                                                                          BRNLP                                  OKGMC                                         GEN

                                * EFH Corporate Services Company owns certain name-holding entities and LUME owns Luminant ET Services
                                Co and Luminant Energy Trading (CA) Co that are not shown here.
                                                                                                                                                                                                                          TXU Energy
                                                                                                                                                                                                 4Change Energy                                              Brighten
                                                                                                                                                                                                                            Retail
                                                                                                                                                                                                  Company LLC                                 Comanche      Energy LLC
                                                                                                                                           14 of 20                                                   (TX)
                                                                                                                                                                                                                         Company LLC
                                                                                                                                                                                                                             (TX)             Peak Power       (DE)
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                                                                                                                                                                                                                            ERLLC            Company LLC      BRTEN
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                                                                                                             T-Side after Spin-Off



                                                                                                                                                                 TCEH Corp.
                                                                                                                                                                    (DE)



                                                                                                                                                                      TEX
                                                                                                                                                                 Intermediate
                                                                                                                                                                 Company LLC
                                                                                                                                                                      (DE)



                                                                                                                                                                     TEX
                                                                                                                                                                  Operations
                                                                                                                                                                 Company LLC
                                                                                                                                                                    (DE)

                                                                                       EFH           EFH Corporate
                                                                                    Properties                                TEX                         Luminant
                                                                                                        Services                                                                      TEX Asset
                                                                                    Company                                                               Energy CO
                                                                                                       Company*             Finance                        LLC (TX)                  Company LLC
                                                                                       (TX)               (TX)                                                                          (DE)
                                                                                                                           Corp. (DE)                       TXUET
                                                                                       TUP                TUS



                                                                                                                                           Luminant ET
                                                                                                                                                                                                                                     Third Party
                                                                                                                                                                 Luminant Energy
                                                                                                                                            Services Co           Trading (CA) Co                                                     Investors
                                                                                                                                               (TX)                     (TX)
                                                                                                                                              ETRSV                   ETCAL

                                                                                                                                                                                                                                             100% Preferred Stock
                                                                                                                                                                                                            100% Common Stock

     NCA                                                                                         Big Brown                               Oak Grove                                Luminant
  Resources
                      TXU Retail
                                                                            Generation           Power Co             Luminant          Management         Sandow Power          Generation           TEX
                       Services         La Frontera          Forney                                                  Mining Co LLC                          Company LLC
 Development                                                               SVC Company               LLC                                Company LLC                             Company LLC        Preferred
                     Company (DE)      Holdings, LLC      Pipeline, LLC                                                  (TX)              (DE)                (TX)
  Co LLC (TX)                                                               (TX) GENSV              (TX)                                                      SWDLP                 (TX)             (DE)
                        RETSV                                                                                            TUM              OKGMC
    NCALP                                                                                          BRNLP                                                                            GEN


                Corporation
                                                                                                                                                                                               TXU Energy
                                                                                                                                                                          4Change Energy                                         Brighten
                                                                                                                                                                                                 Retail            Comanche
                                                                                                                                                                           Company LLC                                          Energy LLC
                                                                                                                                                                                              Company LLC          Peak Power
                Disregarded entity                                                                                                                                             (TX)                                                (DE)
                                                                                                                                                                                                  (TX)            Company LLC
                                                                                                                                                                              SESRP                                               BRTEN
                                                                                                                                                                                                 ERLLC

                Partnership

     * EFH Corporate Services Company owns certain name-holding entities that are not shown here.
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                                                                                                                   E-Side after Spin-Off
                                                                                                                                                                                                                                   Corporation
                                                                                                                        Energy Future
                                                                                                                        Holdings Corp
                                                                                                                             (TX)                                                                                                  Disregarded entity
                                                                                                                             TXU

                                                                                                                                                                                                                                   Partnership


                               EFH Vermont          Energy Future                TXU                    EFH Australia                        EFH Finance                         NCA           EFH       Energy Future
           LSGT Gas                                                                                                          EFH FS                          Generation                                   Competitive             Foreign Corp
                                Insurance           Intermediate              Receivables                  (No. 2)                             (No. 2)                       Development   Renewables
         Company LLC                                                                                                       Holdings Co                      Development                                 Holding Company
                                 Company          Holdings Company             Company                   Holdings Co                         Holdings Co                     Company LLC      Co LLC           LLC
             (TX)                                                                                                             (DE)                           Co LLC (DE)
                                   (VT)                  (DE)                    (DE)                       (DE)                                (DE)                             (TX)          (DE)           (DE)
             ENS                                        EFIHC                                                                TUUKH                             GNDVP
                                  INSUR                                         RECCO                      AUSH2                                FIN2                           NCADV         RNWHC           TXUHC



                                                                                                                           TXU Europe                                                                         Texas
                                   Humphreys       Oncor Electric                                                                                                                                         Competitive
   LSGT         EEC Holdings                                             EFIH Finance                                        Limited                                                                    Electric Holdings
                                       &              Delivery
SACROC Inc.          Inc                                                     Inc.                                              (UK)                                                                             LLC
                                    Glascow       Holdings LLC (DE)                                                                                                 10%
   (TX)             (NV)                                                     (DE)                                                                          90%
                                                                                                                                                                                                               (DE)
                                    Limited            OEDHC                                                                                                                                                 TXUEN
   EDP            ECD_EC              (UK)
                                                                                   80.033%
                                                                                                      TXU Europe        TXU Eastern         TXU Eastern      TXU Finance
                                                                                                                        Finance (A)         Finance (B)     (No 2) Limited
  Ebasco                          Oncor License        Oncor           Oncor Electric                   CP Inc
                 EECI, Inc.                                                                                                 Ltd                 Ltd              (UK)
Services of                        Holdings Co     Communications
                                                                        Delivery Co                      (DE)
                   (NV)                            Holdings Co LLC                                                         (UK)                (UK)
Canada, Ltd                            LLC              (DE)               (DE)
 (Canada)          ECD                (DE)            TUCOM               TRNDS                                                50%
                                                                                                                        TXU Eastern
                                                                                        Class A                0.217%     Funding          50%                   TXU
                                                                                                                         Company                             Acquisitions
                                                                                                                            (UK)                               Limited
                                                   Oncor Electric       Oncor Electric                Oncor                                                      (UK)
                                                     Delivery           Oncor Electric             Management
                                                                      Delivery Transition
                                                                      Delivery Transition         Investment LLC
                                                   Administration        Bond Co LLC
                                                       Corp               Bond Co LLC                  (DE)
                                                                             (DE)
                                                       (TX)                   (DE)                    ONCMI
                                                                            TRBCO
                                                                                                                                                            Other Foreign
                                                                                                                                                              Entities in
                                                                                                                                                            Administration
                                                                                                     Class B                                                    (UK)

                                                                                                    Oncor
                                                                                                  Management




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                                                                                                                  Post-Emergence Step
 Step 60: Effective January 1, [2018] employees of TXU
  Retail Services Company, GEN, LUME, EFH, TXUE, Oak
  Grove Management, and Luminant Mining Co are
  transferred to Opco.
 Step 61: File name changes to reflect new names of T-side
  entities, including recently formed TEX entities.
                                                                                                                                                       TCEH Corp.
                                                                                                                                                          (DE)



                                                                                                                                                            TEX
                                                                                                                                                       Intermediate
                                                                                                                                                       Company LLC
                                                                                                                                                            (DE)



                                                                                                                                                           TEX
                                                                                                                                                        Operations
                                                                                                                                                       Company LLC
                                                                                                                                                          (DE)


                                                                             EFH             EFH Corporate
                                                                                                                       TEX                      Luminant
                                                                          Properties            Services                                                                    TEX Asset
                                                                                                                                                Energy CO
                                                                          Company              Company*              Finance                     LLC (TX)                  Company LLC
                                                                             (TX)                 (TX)              Corp. (DE)                                                (DE)
                                                                                                  TUS
                                                                                                                                                  TXUET
                                                                             TUP


                                                                                                                                 Luminant ET          Luminant Energy
                                                                                                                                  Services Co                                                                                   Third Party
                                                                                                                                                       Trading (CA) Co
                                                                                                                                     (TX)                    (TX)                                                                Investors
                                                                                                                                    ETRSV                  ETCAL

                                                                                                                                                                                                           100% Common Stock
                                                                                                                                                                                                                                         100% Preferred Stock
                                                                                       Big Brown                            Oak Grove                                Luminant           NCA
                                                 TXU Retail
                                                                  Generation                             Luminant          Management
                                                                                                                                                Sandow Power        Generation       Resources        TEX
          La Frontera                             Services                             Power Co                                                  Company LLC
                                 Forney                          SVC Company                            Mining Co LLC      Company LLC                             Company LLC      Development    Preferred
         Holdings, LLC                          Company (DE)                               LLC              (TX)                                    (TX)
                              Pipeline, LLC                                                                                   (DE)                                     (TX)          Co LLC (TX)
                                                   RETSV
                                                                  (TX) GENSV              (TX)              TUM                                    SWDLP                                             (DE)
                                                                                                                             OKGMC                                     GEN             NCALP
                                                                                         BRNLP



                                                                                                                                                                                     TXU Energy
                   Corporation                                                                                                                                  4Change Energy                                      Brighten
                                                                                                                                                                                       Retail       Comanche
                                                                                                                                                                 Company LLC                                       Energy LLC
                                                                                                                                                                                    Company LLC     Peak Power
                                                                                                                                                                     (TX)                                             (DE)
                                                                                                                                                                                        (TX)       Company LLC
                                                                                                                                                                    SESRP                                            BRTEN
                   Disregarded entity                                                                                                                                                  ERLLC



                    Partnership
                         * EFH Corporate Services Company owns certain name-holding entities that are not shown here.
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                                                                                                                              T-Side Final Structure
                                                                                                                                                                                                                                                                Corporation
                                                                                                                                              TCEH Corp.
                                                                                                                                                 (DE)
                                                                                                                                                                                                                                                                Disregarded entity


                                                                                                                                                       TEX
                                                                                                                                                                                                                                                                Partnership
                                                                                                                                                  Intermediate
                                                                                                                                                  Company LLC
                                                                                                                                                       (DE)



                                                                                                                                                      TEX
                                                                                                                                                   Operations
                                                                                                                                                  Company LLC
                                                                                                                                                     (DE)


                                                         EFH Corporate                  EFH
                                                                                                                                TEX                Luminant
                                                            Services                 Properties                                                                        TEX Asset
                                                                                                                                                   Energy CO
                                                           Company*                  Company                                  Finance                                 Company LLC
                                                                                                                                                    LLC (TX)
                                                              (TX)                      (TX)                                 Corp. (DE)                                  (DE)
                                                                                                                                                     TXUET
                                                              TUS                       TUP



           Texas Electric       Texas Energy              Texas Power          Texas Utilities             Texas Utilities         Luminant ET            Luminant Energy
              Service             Industries               and Light             Company,                     Electric              Services Co            Trading (CA) Co
           Company, Inc.        Company, Inc.            Company, Inc.             Inc.                    Company, Inc.               (TX)                      (TX)
               (TX)                  (TX)                     (TX)                                              (TX)                  ETRSV
                                                                                   (TX)                                                                        ETCAL




            Dallas Power           Lone Star             Lone Star          Southwestern             TXU Electric
              & Light               Energy                Pipeline          Electric Service          Company,                                                                                                                                          Third Party
            Company Inc.         Company, Inc.         Company, Inc.        Company, Inc.               Inc.
                                     (TX)                   (TX)                  (TX)                                                                                                                                                                   Investors
                 (TX)                                                                                   (TX)
                                                                                                                                                                                                                                                                100% Preferred Stock
                                                                                                                                                                                                                             100% Common Stock

                                                                                               Big Brown                                     Oak Grove                                Luminant           NCA
                                                  TXU Retail                                                           Luminant                                   Sandow Power       Generation       Resources          TEX
        La Frontera                                                     Generation             Power Co                                     Management
                               Forney              Services                                                           Mining Co LLC         Company LLC
                                                                                                                                                                   Company LLC
                                                                                                                                                                                    Company LLC      Development      Preferred
       Holdings, LLC                             Company (DE)          SVC Company                 LLC                                                                (TX)
                            Pipeline, LLC                                                                                 (TX)                 (DE)                                     (TX)          Co LLC (TX)
                                                    RETSV               (TX) GENSV                (TX)                    TUM                                        SWDLP                                              (DE)
                                                                                                                                              OKGMC                                     GEN             NCALP
                                                                                                 BRNLP


                                                                                                                                                                                                              TXU Energy
                                                                                                                                                                                         4Change Energy                                           Brighten
                                                                                                                                                                                                                Retail        Comanche
                                                                                                                                                                                          Company LLC                                            Energy LLC
                                                                                                                                                                                                             Company LLC      Peak Power
                                                                                                                                                                                              (TX)                                                  (DE)
                                                                                                                                                                                                                 (TX)        Company LLC
                                                                                                                                                                                             SESRP                                                 BRTEN
                                                                                                                                                                                                                ERLLC

                                                                                                                                                   18 of 20
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  Step 62: EFH abandons its interest in EFH FS Holdings Co.*
  Step 63: EFH abandons its interest in EFH Finance (No. 2) Holdings Co.*                                                                                                                                                                                       Corporation
  Step 64: LSGT Gas Company LLC abandons its interest in Humphreys & Glascow Limited.
  Step 65: EEC Holdings Inc abandons its interest in Ebasco Services of Canada, Ltd.                                                                                                                                                                            Disregarded entity
  Step 66: EFIH distributes EFIH Finance Inc. to EFH. [K&E Tax to confirm EFIH does not need to distribute stock in EFIH Finance
   Inc. to EFH prior to dissolution.]
  Step 67: TXU Receivables Company, EFH Australia (No. 2) Holdings Co, EFIH Finance Inc., EFH Renewables Co LLC, Generation                                                                                                                                     Partnership
   Development Co LLC, and NCA Development Company LLC dissolve.
  Step 68: TCEH and EFCH dissolve pursuant to Plan.

                                                                                                                                                                                                                                                                 Foreign Corp



 * Subject to finalizing tax diligence with respect to the tax basis in the stock of EFH FS Holdings Co. and EFH Finance (No. 2)
 Holdings Co. [the US Holding Entities], either (1) (a) the interests in the UK entities will be abandoned under applicable                               Energy Future
 bankruptcy law; and (b) immediately thereafter, the US Holding Entities will be liquidated; or (2) (a) interests in the US Holding                       Holdings Corp
 Entities will be cancelled pursuant to the Plan; (b) immediately thereafter, interests in the UK entities will be abandoned; and (c)                          (TX)
 thereafter (either immediately or, if possible, after a specified waiting period), the US Holding Entities will be liquidated.                                TXU


                                                                                                                                                  Step 66
                     Step 67                   Step 62               Step 63                                        Step 68                                                       Step 67                                              Step 67
          TXU               EFH Australia                                 EFH Finance          EFH Vermont              Energy Future         Energy Future             NCA                     EFH
                                                       EFH FS                                                            Competitive                                                        Renewables                   LSGT Gas          Generation
       Receivables             (No. 2)                                      (No. 2)             Insurance                                     Intermediate          Development
                                                     Holdings Co                                                       Holding Company
                                                                                                                                                                                               Co LLC                  Company LLC        Development
        Company              Holdings Co                                  Holdings Co            Company                      LLC           Holdings Company        Company LLC
                                                        (DE)                                                                                                                                    (DE)                       (TX)            Co LLC (DE)
          (DE)                  (DE)                                          (DE)                 (VT)                      (DE)                  (DE)                 (TX)
                                                      TUUKH*                                                                                      EFIHC                                       RNWHC                        ENS               GNDVP
         RECCO                 AUSH2                                         FIN2*                INSUR                     TXUHC                                     NCADV

                                                                                                                                                                              Step 48                                                            Step 64
                                                                                                                            Texas
                                                                                                                        Competitive                                                                    LSGT             EEC Holdings     Humphreys &
                                                     TXU Europe                                           Step 68     Electric Holdings      Oncor Electric          EFIH Finance
                                                                                                  10%                         LLC               Delivery                                            SACROC Inc.              Inc           Glascow
                                                       Limited                                                                                                           Inc.
                                                                                                                             (DE)           Holdings LLC DE)                                           (TX)                 (NV)           Limited
                                                         (UK)                                                                                                            (DE)
                                                                                                                           TXUEN
                                                                                                                                                OEDHC                                                  EDP                ECD_EC             (UK)

                                                                                        90%                                                                                  80.033%                                                      Step 65

                                                                                                                      Oncor License              Oncor           Oncor Electric                                                     Ebasco
                                       TXU Eastern                 TXU Eastern                                                               Communications                                                    EECI, Inc.
              TXU Europe                                                                  TXU Finance                  Holdings Co                                Delivery Co                                                     Services of
                                       Finance (A)                 Finance (B)                                                               Holdings Co LLC                                                     (NV)             Canada, Ltd
                CP Inc                                                                   (No 2) Limited                    LLC                    (DE)               (DE)
                                           Ltd                         Ltd                                                                                                                                       ECD
                 (DE)                                                                         (UK)                        (DE)                  TUCOM               TRNDS                                                          (Canada)
                                          (UK)                        (UK)

                                                50%                                                                                                                                   0.217%
                                                                                                                                                                                                    Class A
                                                                                              TXU
                                       TXU Eastern                 50%                                                                       Oncor Electric       Oncor Electric             Oncor
                                                                                          Acquisitions                                                            OncorTransition
                                                                                                                                                                          Electric
                                         Funding                                                                                               Delivery         Delivery                  Management
                                                                                            Limited                                          Administration
                                                                                                                                                                Delivery Transition
                                                                                                                                                                   Bond Co   LLC         Investment LLC
                                        Company                                               (UK)                                                                  Bond  Co LLC
                                                                                                                                                 Corp                  (DE)                   (DE)
                                           (UK)                                                                                                                         (DE)
                                                                                                                                                 (TX)                 TRBCO                  ONCMI


                                                                                         Other Foreign                                                                                 Class B
                                                                                           Entities in
                                                                                         Administration
                                                                                             (UK)
                                                                                                                                                      19 of 20                      Oncor
                                                                                                                                                                                  Management
Legal Entity Simplification Prior to TCEH Spin-Off
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                                                                                                                                                                                    Corporation


                                                                                                                                                                                    Disregarded entity

                                                                                           Energy Future
                                                                                           Holdings Corp
                                                                                                (TX)                                                                                Partnership
                                                                                                TXU




                                                                       Energy Future                        EFH Vermont
                                                                       Intermediate                          Insurance                    LSGT Gas
                                                                     Holdings Company                         Company                   Company LLC
                                                                            (DE)                                (VT)                        (TX)
                                                                           EFIHC                               INSUR                        ENS


                                                                      Oncor Electric
                                                                         Delivery
                                                                     Holdings LLC (DE)                                            LSGT         EEC Holdings
                                                                          OEDHC                                                SACROC Inc.          Inc
                                                                                                                                  (TX)             (NV)
                                                                                                                                  EDP            ECD_EC
                                                                                                       80.033%


                                                     Oncor License        Oncor            Oncor Electric
                                                      Holdings Co     Communications
                                                                                            Delivery Co                                         EECI, Inc.
                                                                      Holdings Co LLC
                                                          LLC              (DE)                (DE)                                               (NV)
                                                         (DE)            TUCOM                TRNDS                                               ECD

                                                                                                            Class A                0.217%


                                                                      Oncor Electric        Oncor Electric                Oncor
                                                                        Delivery            Oncor Electric             Management
                                                                                          Delivery Transition
                                                                      Administration      Delivery Transition         Investment LLC
                                                                                             Bond Co LLC
                                                                          Corp                Bond Co LLC                  (DE)
                                                                                                 (DE)
                                                                          (TX)                    (DE)                    ONCMI
                                                                                                TRBCO


                                                                                                                         Class B


                                                                                                                        Oncor
                                                                                                                      Management




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Legal Entity Simplification Prior to TCEH Spin-Off
